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                                                                                                   EXHIBIT 1




    VIA EMAIL

    Assistant Attorney General
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    Phillip Ledbetter
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    November 8, 2019

    Re: ​United States and State of Texas v. City of Houston, Texas​, D.J. Ref. No. 90-5-1-1-08687/1

    To the Assistant Attorney General for the Environment and Natural Resources Division, on behalf of
    the United States, and to Mr. Ledbetter, on behalf of the State of Texas:

    Bayou City Waterkeeper1 is a nonprofit advocacy organization working to protect and restore the
    waters and wetlands making up the Lower Galveston Bay Watershed, which fully encompasses
    Houston’s city limits.2 In July 2018, Bayou City Waterkeeper served the City of Houston (“City”) with a
    notice of intent to sue over more than 9,300 potential Clean Water Act violations affecting waters and
    communities within this watershed, which led to an enforcement action by the EPA and State of Texas,
    a citizen suit, and now, this consent decree.

    Despite Bayou City Waterkeeper’s role in the underlying litigation, this comment period is our first
    meaningful opportunity to give substantive input to the consent decree. We appreciate this opportunity,
    and we urge the United States and the State of Texas (together, the “Agencies”3) to consider our
    comments carefully. The Agencies must withhold your consent and work to modify the consent decree
    “if the comments regarding the Consent Decree disclose facts or considerations indicating that the
    Consent Decree is inappropriate, improper, or inadequate.”4


1
  Bayou City Waterkeeper, 2010 N. Loop West, Ste 103, Houston, TX 77018, www.bayoucitywaterkeeper.org
2
  H-GAC, Map of Upper and Lower Galveston Bay Watersheds,
http://www.h-gac.com/galveston-bay-plan/documents/GBEP_Map_2.pdf
3
  Unless otherwise noted, this term encompasses the United States, the U.S. Department of Justice, U.S. Environmental
Protection Agency, the State of Texas, the Texas Attorney General, and the Texas Commission on Environmental
Quality.
4
  Draft Consent Decree, ¶ 138; see also Texas Water Code § 7.110(c) (“The attorney general shall promptly consider any
written comments and may withdraw or withhold consent to the proposed order, judgment, or other agreement if the

                                            www.bayoucitywaterkeeper.org
                                                                                                                    1
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    To expedite resolution of the issues raised by some of these comments, Bayou City Waterkeeper has
    proposed draft language throughout these comments. Bayou City Waterkeeper welcomes the
    opportunity to meet so we can collaboratively address and implement this language and the
    recommendations embodied by the remaining comments.

                                                 I.   Background

    Houston is the fourth largest city in the United States, with a population of more than 2.3 million people
    spread over nearly 700 square miles. The City owns and operates one of the largest separate sewer
    systems in the country, consisting of 39 wastewater treatment plants and a collection system with
    more than 6,800 miles of sewer pipe and 383 lift stations.

    Sewer overflows have long been an issue across Houston’s wastewater network. Because these
    overflows violate the Clean Water Act and the Texas Water Code, the City has entered multiple
    settlement agreements with federal and state regulators several times over the last 30 years. Despite
    spending at least $3 billion,5 the problem has persisted. Most recently, after completing $755 million in
    work under a 2005 agreement with the State of Texas, Houston continued to report a similar (and in
    some cases higher) number of unpermitted discharges and sanitary sewer overflows.

    Bayou City Waterkeeper’s July 2018 notice of intent to sue identified 9,319 sanitary sewer overflows
    and other potentially unlawful discharges from the City’s wastewater facilities from July 2013 to 2018,
    not including those reported during Harvey. This notice prompted the United States and the State of
    Texas to file an enforcement action in September 2018, which covered an unspecified number of
    Clean Water Act and related Texas Water Code violations over ten years, and culminated in the draft
    consent decree on which Bayou City Waterkeeper offers these comments now.6 Bayou City
    Waterkeeper intervened in that enforcement action as a matter of right (and by the Court’s order)
    under FRCP 24(a)(1) and also filed a citizen suit.7

    Bayou City Waterkeeper’s review showed, and the draft consent decree has confirmed, that no single
    source is responsible for Houston’s wastewater problems.8 The City’s self-reported data attributes
    overflows to a range of distinct, yet overlapping causes, like localized grease clogs leading to
    back-ups, heavy rainfall leading to high-volume overflows, faulty work, failing pumps, broken pipes,
    lack of electricity, untrained employees, and more. ​See ​Section IV below.

    To illustrate, over the five-year period covered by Bayou City Waterkeeper’s lawsuit, the 2,330
    discharges associated with the 69th Street Wastewater Treatment Plant’s wastewater permit were
    attributed to several unique, localized causes across that plant’s network of infrastructure stretching
    across the city: heavy rain; broken pipes; grease, mud, or debris clogging a line; a collapse in a sewer
    line; a broken main; and loss of power. Further, while it is a misconception that rain alone causes the
    City’s systems to overflow, rain is an important source of overflows that the City, and the consent




comments disclose facts or considerations that indicate that the consent is inappropriate, improper, inadequate, or
inconsistent with [Texas law].”).
5
  Draft Consent Decree, seventh “Whereas” clause.
6
  ​See United States v. City of Houston​, No. 4:18-CV-3368 (S.D. Tex. filed September 20, 2018).
7
   ​See Bayou City Waterkeeper v. City of Houston​, No. 4:18-CV-3369 (S.D. Tex. filed September 21, 2018).
8
  Draft Consent Decree, Appendix E. Bayou City Waterkeeper reviewed the City’s self-reported data, which it obtained
from the TCEQ through a series of public information requests.

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     decree, must address: over that same time period, across Houston, the City reported to the TCEQ that
     more than 15 million gallons of wastewater left the system untreated during periods of rain.9

     Regardless of the source, the City’s overflows have dramatically affected water quality across the
     region. Environment Texas’ analysis of water quality data found fecal bacteria 75% of the time at local
     testing sites.10 Among Environment Texas’ recommendations to improve water quality: More
     vigorously enforce municipal wastewater treatment standards.11

     Across Houston, lower income and minority communities are “most likely to feel the consequences of
     Houston’s long-running struggle with sewer overflows.”12 In 2016, the Houston Chronicle reported:

            The four dozen zip codes with above-average rates of raw sewage spills also have higher
            poverty rates and larger concentrations of Hispanic or black residents than the city as a whole,
            a trend that is even more pronounced in the 10 zip codes with the most spills since 2009, when
            officials say they began keeping reliable data.13

     Houston is one of the last cities in the nation to have its sewer overflows addressed by the EPA. The
     EPA’s National Compliance Initiative began in 2000 “to reduce pollution and to reduce unlawful
     discharges of raw sewage that degrade water quality in communities” emanating from municipal sewer
     systems.14 As of FY2019, the EPA had addressed 92% of large sanitary sewer systems before
     choosing to abandon the initiative.15 Houston was among the remaining 8% of municipal systems with
     wastewater violations that had not yet been addressed when the program was closed.16

     The delay in resolving Houston’s wastewater problems presents an opportunity for the City, EPA, and
     TCEQ: to learn from the more than 1,014 municipalities with large sewer systems, and 209 more with
     combined sewer systems, that have grappled with resolving their wastewater pollution through the
     National Compliance Initiative.17 Houston’s consent decree must integrate the best practices of other
     municipalities and adapt those practices to its own circumstances: a dispersed wastewater system and
     population, increasingly heavy rain, historic inequities, and a longstanding failure to engage
     communities in large-scale infrastructure planning. The City must also use the consent decree to
     advance local investments in flood mitigation and the goals set by its climate, resilience, and green
     infrastructure planning.



9
  Bayou City Waterkeeper’s analysis of the data that the City reported to the TCEQ.
10
   Environment Texas Research & Policy Center, Swim at Your Own Risk: Bacteria Pollution in Texas Beaches and
Waterways Threatens Public Health (2018), available at
https://environmenttexas.org/sites/environment/files/reports/TX_Water2018_scrn.pdf
11
   ​Id. a  ​ t 19.
12
   Mike Morris, Sewer spills put city under EPA scrutiny, Houston Chronicle (Aug. 27, 2016), available at
https://www.houstonchronicle.com/news/houston-texas/houston/article/Sewer-spills-put-city-under-EPA-scrutiny-918868
3.php.
13
    ​Id.​
14
   EPA, National Compliance Initiative: Keeping Raw Sewage and Contaminated Stormwater Out of Our Nation’s Waters,
https://www.epa.gov/enforcement/national-compliance-initiative-keeping-raw-sewage-and-contaminated-stormwater-out-
our (last visited Sep. 18, 2019)
15
     ​Id.
16
      ​Id.
17
   EPA, National Compliance Initiative: Keeping Raw Sewage and Contaminated Stormwater Out of Our Nation’s Waters,
https://www.epa.gov/enforcement/national-compliance-initiative-keeping-raw-sewage-and-contaminated-stormwater-out-
our (last visited Sep. 18, 2019)

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At the end of this consent decree, to comply with the Clean Water Act, Houston must intend to have
zero overflows and discernibly improved water quality. To reach that goal, this letter recommends
several additions to the consent decree:

●   BCWK’s Role of Intervenor. B    ​ ayou City Waterkeeper’s notice of intent to sue prompted the
    enforcement action that led to this consent decree; moving forward, we will remain engaged as the
    City resolves wastewater problems over the consent decree’s life. So we may confirm the City
    meets all targets and bring issues to the Court’s attention if needed, the consent decree must
                             ​ ection III.
    recognize our role. ​See S

●   Addressing Causes of SSOs. ​To eliminate the City’s ongoing legal violations, the consent decree
    must require action by the City to address the disparate causes of SSOs that have been reported.
    See ​Section IV.

●   Green Infrastructure & Wet Weather​. To tackle the City’s substantial wet-weather SSOs, the
    consent decree must require planning for green infrastructure and require the City to take on pilot
    projects to determine how best to use green infrastructure to address SSOs. ​See S​ ection V​.

●   Equity & Environmental Justice. T    ​ he consent decree must address, and avoid compounding,
    historic inequities associated with Houston’s wastewater problems by: planning and reporting on
    EJ issues; requiring Early Action Projects in EJ communities; requiring a rate study focused on
    low-income users most vulnerable to rate increases; and redirecting a portion of the $4.4 million
    penalties into Supplemental Environmental Projects. ​See S​ ection VI.

●   Resilience. T​ o anticipate and limit impacts from future storms like Harvey and Imelda moving
    forward, the consent decree must require the City to deliver on the promises of its Climate Action
    and Resilience Plans and integrate floodplain data, climate risk, and population projections into all
    wastewater infrastructure planning. ​See ​Section VII.

●   Community Engagement​. The consent decree must account for the City’s failure to engage
    communities and require a plan for public engagement moving forward. Measures include the
    creation of a Community Wastewater Committee, holding an annual forum on the consent decree
    and publishing a related report, and better information sharing. ​See ​Section VIII.

●   Data Reporting & Public Information. ​Data reporting must be designed to inform regulators and
    the public about the City’s progress in complying with the consent decree, as well as to allow the
    City to quickly identify and address specific vulnerabilities in its infrastructure. ​See ​Section IX.

●   Cross-Project Coordination. A  ​ s the City, Harris County, and other governmental entities spend
    billions to recover from Harvey and make our region more resilient, the City’s planning under the
    consent decree must maximize opportunities for shared coordination and costs. ​See ​Section X.

These recommended provisions are designed to make sure the City complies with the Clean Water
Act and Texas Water Code over the long-term. This consent decree will stretch over four mayoral
terms, which will represent a minimum of three different administrations, each of which will bring with it
a different set of priorities. Given the City’s decades-long failure to comply with the Clean Water Act
and Texas Water Code, the provisions we recommend should not be left to the City’s option or the
preferences of any given administration.



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                     II.   Length of Comment Period & Need for Community Meetings

     The Agencies’ comment periods collectively represent the first and only real opportunity for the public
     to give any feedback to Houston’s consent decree. We thank the DOJ for extending the federal
     comment period by 30 days. We ask for 30 more days so the Agencies—and barring the Agencies,
     Bayou City Waterkeeper—can hold public meetings in communities most affected by the City’s
     wastewater problems and take comments from residents.

     As explained in our September 10, 2019 letter to the DOJ, the lack of opportunities for public
     participation so far is unusual. Other local governments resolving wastewater issues through consent
     decrees contemplated more robust community engagement both before and after the consent decree
     was final. To illustrate, the DOJ is taking public comments now on the Allegheny County Sewer
     Authority’s wastewater consent decree. In addition to giving the public ​more than 60 days to comment​,
     the proposed settlement requires implementation of a comprehensive plan for public participation over
     the life of the consent decree.

     As the fourth largest city in the nation, Houston also has “​one of the largest separate sewer systems in the
     country​.” Because Houston is so spread out, and both culturally and linguistically diverse, the City faces
     special challenges in engaging communities on a short timeline. Extending the comment period would
     allow the DOJ or EPA to hold public meetings, educate the public about the consent decree, and take oral
     comments from a wider range of Houston residents. Given Houston’s size and dispersed population,
     these public meetings should be held across the city to maximize opportunities for participation.

     Alternatively, if given additional time, Bayou City Waterkeeper will hold public meetings to obtain additional
     comments from the public. With the additional 30 days already given, Bayou City Waterkeeper was able to
     hold a community meeting in Acres Homes, a neighborhood with a high level of residential sewage
     backups. This kind of engagement will improve this comment process by giving the Agencies a
     ground-level view into the way the City’s problems affect its residents. It also will enhance the City’s ability
     to comply with the consent decree by increasing long-term opportunities for information-sharing.

     If the Agencies refuse to extend the comment period further, we urge the Agencies to hold public
     meetings in Houston 30 days after the consent decree is final and explain their responses to the
     written comments submitted by the public during this comment period.

     To offset the harm from minimal public engagement so far and promote public engagement moving
     forward, the consent decree also must incorporate the recommendations in Section XIII.

                             III.   Bayou City Waterkeeper’s Role as Intervenor

     The only mention the consent decree makes of Bayou City Waterkeeper’s role as plaintiff-intervenor is
     in the caption. Other consent decrees involving non-profit plaintiff-intervenors like Bayou City
     Waterkeeper comprehensively addressed the intervenors’ role and resolved the intervenors’ claims.18

     If granted the right to intervene, Bayou City Waterkeeper represented to the Court that it would
     advance and protect its members’ interests. Unlike other cases involving internenors, the Agencies
     and City took the unusual approach of excluding Bayou City Waterkeeper from all settlement
     negotiations. This means Bayou City Waterkeeper was given no opportunity to suggest changes to the

18
  ​See, e.g.​, St. Louis’ Consent Decree (2013),
https://www.epa.gov/sites/production/files/2013-09/documents/stlouis-cd.pdf.

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     consent decree, and as a result, several key provisions that would promote the public’s interest over
     the life of this consent decree are missing.19 Through this comment letter, Bayou City Waterkeeper has
     made an effort to raise these issues so they may be addressed and incorporated before the consent
     decree is final and without the need for further litigation.

     Provisions like the Clean Water Act’s citizen participation section “reflect [a] deliberate choice by
     Congress to widen citizen access to the courts....”20 This choice means that the Agencies, throughout
     this process, should treat citizen groups like Bayou City Waterkeeper not as “nuisances or
     troublemakers… but rather as welcomed participants in the vindication of environmental interests.”21
     The Fifth Circuit has frequently recognized that governmental plaintiffs and defendants, like those
     here, cannot adequately represent private intervenors like Bayou City Waterkeeper.22

     Though the Agencies and the City disregarded this case law by excluding Bayou City Waterkeeper so
     far, the Agencies can remedy this going forward. As an intervenor, Bayou City Waterkeeper may play
     an important role over the life of the consent decree that can complement and enhance the Agencies’
     primary enforcement roles. The consent decree can, and should, formalize this role.

     At a minimum, Bayou City Waterkeeper should receive all reports, plans, and updates shared with the
     Agencies and be given the opportunity to participate in the dispute resolution process outlined under
     the consent decree. This will allow Bayou City Waterkeeper to confirm that the City meets all targets
     outlined under the consent decree and that the City’s actions bring it into compliance with the Clean
     Water Act—and if necessary, bring any issues to the Court’s attention. This recommendation is typical
     of consent decrees in cases involving intervenors.23

     For the consent decree to properly address Bayou City Waterkeeper’s role in the litigation, we
     recommend the following changes:

      Page     Current language                                     Proposed language (​in bold​)
      or ¶                                                          [Explanatory text in bracketed italics]

      p. 1     None                                                 [This should be the third “WHEREAS”
                                                                    statement.]
                                                                    WHEREAS, Plaintiff-Intervenor Bayou City
                                                                    Waterkeeper (“BCWK”) filed a motion to
                                                                    intervene, and when its motion was
                                                                    granted by the Court on November 18,


19
   Taking the time to consult directly with communities most affected by the City’s wastewater problems undoubtedly
would maximize opportunities for the Agencies to protect the public’s interests through this consent decree.
20
   ​Friends of the Earth v. Carey,​ 535 F.2d 165, 172 (2d Cir. 1976) (discussing the Clean Air Act’s citizen suit provision,
which parallels the Clean Water Act’s provision).
21
    ​Id.
22
     ​Entergy Gulf States La. v. EPA,​ 817 F.3d 198, 206 (5th Cir. 2016) (allowing intervention because conservation groups’
interests sufficiently diverged from EPA’s); ​Heaton v. Monogram Credit Card Bank,​ 297 F.3d 416, 425 (5th Cir. 2002)
(finding inadequate representation by government agency because the government represents a broader interest than
that of a private entity); ​Doe #1 v. Glickman,​ 256 F.3d 371, 381 (5th Cir. 2001) (same); ​see also Forest Conservation
Council v. U.S. Forest Serv.,​ 66 F.3d 1489, 1498-99 (9th Cir. 1995) (reasoning that government defendant could not be
expected to make all the arguments of proposed intervenors).
23
   For an example, review St. Louis’s consent decree.
https://www.epa.gov/sites/production/files/2013-09/documents/stlouis-cd.pdf

                                                                                                                           6
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                                                                2018, filed its Complaint in Intervention
                                                                against the City for its alleged violations of
                                                                Sections 301(a) and 402 of the CWA, 33
                                                                U.S.C. §§ 1311(a) and 1342, and certain
                                                                TPDES Permits, following its issuance on
                                                                July 23, 2018 of a 60-day notice of intent to
                                                                sue pursuant to Section 505 of the CWA,
                                                                33 U.S.C. § 1365.

     ¶9       None                                              [This should be added as a definition.]
                                                                “BCWK” shall refer to Bayou City
                                                                Waterkeeper, the plaintiff-intervenor in this
                                                                action.

     ¶        “Parties” shall mean the United States of         “Parties” shall mean the United States of
     9(aa)    America, on behalf of EPA, the State of           America, on behalf of EPA, the State of
              Texas, on behalf of the TCEQ, and the City.       Texas, on behalf of the TCEQ, ​BCWK, ​and the
                                                                City.

     ¶ 12     ...Within two years of the Effective Date, the    ...Within two years of the Effective Date, the
              City… shall submit a Capacity Remedial            City... shall submit a Capacity Remedial
              Measures Plan(s) to EPA for its review and        Measures Plan(s) to EPA for its review and
              approval, with a copy to TCEQ….                   approval, with ​copies​ to TCEQ ​and BCWK​…
                                                                24




     ¶ 13     ...In the Annual Reports submitted to EPA         ...In the Annual Reports submitted to EPA for
              for review and comment, with a copy to            review and comment, with ​copies​ to TCEQ ​and
              TCEQ, the City shall... identify the locations    BCWK​, the City shall identify the locations that
              that meet the criteria specified above,           meet the criteria specified above, identify areas
              identify areas with capacity constraints,         with capacity constraints, provide remedial
              provide remedial alternative analysis for         alternative analysis for each area in the Capacity
              each area in the Capacity Remedial                Remedial Summary, specify the remedial action
              Summary, specify the remedial action taken        taken or to be taken, along with a timeline for
              or to be taken, along with a timeline for         completion of each remedial action.
              completion of each remedial action.

     ¶        Scott Street WWF. No later than four years        Scott Street WWF. No later than four years and
     21(a)    and six months from the Effective Date the        six months from the Effective Date the City shall
              City shall submit to EPA and to TCEQ, for         submit to EPA and to TCEQ, for review and
              review and approval, a Remedial Measures          approval​, with a copy to BCWK, ​a Remedial
              Plan...                                           Measures Plan...

     ¶        Northside WWF. No later than six years and        Northside WWF. No later than six years and six
     21(b)    six months from the Effective Date, the City      months from the Effective Date, the City shall
              shall submit to EPA and TCEQ, for review          submit to EPA and TCEQ, for review and


24
  This same approach was taken in St. Louis’ 2013 consent decree. ​See ​St. Louis Consent Decree at ¶¶ 9, 11, 23,
30(a), 31, 34, 39, 42, 43, 45, 46, 55(c), 60, 61(a), 62, 72, 73, 84, 109,
https://www.epa.gov/sites/production/files/2013-09/documents/stlouis-cd.pdf

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         and approval, a Remedial Measures Plan...       approval, ​with a copy to BCWK,​ a Remedial
                                                         Measures Plan...

¶ 23     WWF Full-Scale Treatment Plan… the City         WWF Full-Scale Treatment Plan… the City shall,
         shall, no later than six months after EPA’s     no later than six months after EPA’s response,
         response, submit a plan to EPA and TCEQ,        submit a plan to EPA and TCEQ, for review and
         for review and approval, indicating how full    approval, ​with a copy to BCWK, ​indicating how
         implementation will occur and providing         full implementation will occur and providing
         justification for the proposed implementation   justification for the proposed implementation
         schedules.                                      schedules.

¶        Scott Street WWF. No later than seven           Scott Street WWF. No later than seven years
24(b)    years from the Effective Date, the City shall   from the Effective Date, the City shall submit to
         submit to EPA, with a copy to TCEQ, for         EPA, with ​copies​ to TCEQ ​and BCWK​, for EPA
         EPA review and approval, a Remedial             review and approval, a Remedial Measures Plan,
         Measures Plan, including a proposed             including a proposed schedule to eliminate
         schedule to eliminate discharges from the       discharges from the Scott Street WWF...
         Scott Street WWF...

¶        Northside WWF. No later than 10 years           Northside WWF. No later than 10 years from the
24(c)    from the Effective Date, the City shall         Effective Date, the City shall submit to EPA, with
         submit to EPA, with a copy to TCEQ, for         copies​ to TCEQ ​and BCWK​, for EPA review and
         EPA review and approval, a Remedial             approval, a Remedial Measures Plan, including a
         Measures Plan, including a proposed             proposed schedule to eliminate discharges from
         schedule to eliminate discharges from the       the Northside WWF….
         Northside WWF….

¶ 43     ...This CMOM Program Plan shall be              ...This CMOM Program Plan shall be submitted to
         submitted to EPA, with a copy to TCEQ, for      EPA, with ​copies​ to TCEQ ​and BCWK​, for EPA
         EPA review and approval, within one and a       review and approval, within one and a half years
         half years of the Effective Date….              of the Effective Date….

¶ 45     ...If substantial updates to SOPs are made,     ...If substantial updates to SOPs are made, the
         the City shall submit, electronically or        City shall submit, electronically or otherwise, such
         otherwise, such updated SOPs to EPA, with       updated SOPs to EPA, with ​copies​ to TCEQ ​and
         a copy to TCEQ, as part of the Annual           BCWK​, as part of the Annual Report….
         Report….

¶ 58     Deliverables for Which EPA Provides             Deliverables for Which EPA Provides Written
         Written Comments.​ EPA may choose to            Comments.​ EPA may choose to provide
         provide                                         written comments on the Deliverables subject to
         written comments on the Deliverables            Paragraph 55…. ​BCWK shall receive a copy of
         subject to Paragraph 55….                       the EPA’s written comments and may provide
                                                         a written response within 60 days of receipt.

¶ 62     ...On October 31 following each Fiscal Year     ...On October 31 following each Fiscal Year over
         over the term of this Consent Decree, and       the term of this Consent Decree, and until this
         until this Consent Decree is terminated, the    Consent Decree is terminated, the City shall
         City shall submit to EPA, with a copy to        submit to EPA, with ​copies​ to TCEQ ​and BCWK​,
         TCEQ, an Annual Report….                        an Annual Report….

¶ 100    Any dispute subject to Dispute Resolution       Any dispute subject to Dispute Resolution under


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         under this Consent Decree shall first be the       this Consent Decree shall first be the subject of
         subject of informal negotiations. The dispute      informal negotiations. The dispute shall be
         shall be considered to have arisen when the        considered to have arisen when the City ​or
         City sends the United States and Texas a           BCWK ​sends the United States and Texas a
         written notice of dispute...The period of          written notice of dispute...The period of informal
         informal negotiations shall not exceed 45          negotiations shall not exceed 45 Days from the
         Days from the date the City sends its notice       date the City ​or BCWK​ sends its notice of
         of dispute, unless that period is modified by      dispute, unless that period is modified by written
         written agreement between the Plaintiffs           agreement between
         and the City….                                     the ​Parties​….

¶ 101    The City shall invoke formal dispute               The City ​or BCWK ​shall invoke formal dispute
         resolution procedures… by serving on               resolution procedures… by serving on Plaintiffs a
         Plaintiffs a written statement of position         written statement of position regarding the matter
         regarding the matter in dispute. The               in dispute. The statement of position shall include
         statement of position shall include any            any factual data, analysis, or opinion supporting
         factual data, analysis, or opinion supporting      the City’s ​or BCWK’s​ position and any
         the City’s position and any supporting             supporting documentation relied upon by it….
         documentation relied upon by it….

¶ 102    The City may seek judicial review of the           The City ​or BCWK​ may seek judicial review of
         dispute… The motion shall contain a written        the dispute… The motion shall contain a written
         statement of the City’s position on the            statement of the City’s ​or BCWK’s​ position on
         matter in dispute… Plaintiffs shall respond        the matter in dispute… Plaintiffs shall respond to
         to the City’s motion as follows...                 the City’s motion as follows...

¶        With respect to disputes regarding force           With respect to disputes regarding force majeure
102(a    majeure under Section XI (Force Majeure)...        under Section XI (Force Majeure)... and
)        and termination under Section XXII                 termination under Section XXII (Termination),
         (Termination), Plaintiffs shall file their         Plaintiffs shall file their response to the City’s
         response to the City’s motion within the time      motion within the time period allowed by the Local
         period allowed by the Local Rules of this          Rules of this Court. ​BCWK may also file a
         Court….                                            response within the same time period…​.

¶        If Plaintiffs reach a joint position, Plaintiffs   If Plaintiffs reach a joint position, Plaintiffs shall
102(b    shall file a joint response to the City’s          file a joint response to the City’s motion within the
)(i)     motion within the time period allowed by the       time period allowed by the Local Rules of this
         Local Rules of this Court. The City may file       Court. ​BCWK may also file a response within
         a reply memorandum, to the extent                  the same time period.​ The City may file a reply
         permitted by the Local Rules or order of the       memorandum, to the extent permitted by the
         Court.                                             Local Rules or order of the Court.

¶        If Plaintiffs do not reach a joint position,       If Plaintiffs do not reach a joint position, each
102(b    each Plaintiff shall file a response to the        Plaintiff shall file a response to the City’s motion
)(ii)    City’s motion within the time period allowed       within the time period allowed by the Local Rules
         by the Local Rules of this Court. The City         of this Court. ​BCWK may also file a response
         may file a reply memorandum, to the extent         within the same time period.​ The City may file a
         permitted by the Local Rules or order of the       reply memorandum, to the extent permitted by
         Court.                                             the Local Rules or order of the Court.

¶      ...The United States shall file its response to      ...The United States shall file its response to the
102(c) the City’s motion within the time period             City’s motion within the time period allowed by


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          allowed by the Local Rules of this Court.        the Local Rules of this Court. ​BCWK may also
          The City may file a reply memorandum, to         file a response within the same time period.
          the extent permitted by the Local Rules or       The City may file a reply memorandum, to the
          order of the Court.                              extent permitted by the Local Rules or order of
                                                           the Court.

¶ 122     The Parties shall each bear their own costs      The Parties shall each bear their own costs of
          of litigation of this action, including          litigation of this action, including attorneys’
          attorneys’                                       fees, except that Texas may collect its Attorney’s
          fees, except that Texas may collect its          fees as set forth in Section VII of this Consent
          Attorney’s fees as set forth in Section VII of   Decree, and Plaintiffs shall be entitled to collect
          this Consent Decree, and Plaintiffs shall be     the costs (including attorneys’ fees) incurred in
          entitled to collect the costs (including         any action necessary to collect any portion of the
          attorneys’ fees) incurred in any action          civil penalties or stipulated penalties due but not
          necessary to collect any portion of the civil    paid by the City. ​BCWK reserves its right to
          penalties or stipulated penalties due but not    seek attorney’s fees and costs under the
          paid by the City.                                CWA.

¶ 123     “Unless otherwise specified herein,              [Add to list]
          whenever notifications, submissions, or          “Unless otherwise specified herein, whenever
          communications are required by this              notifications, submissions, or
          Consent Decree, they shall be made in            communications are required by this Consent
          writing and addressed as follows:...”            Decree, they shall be made in writing and
                                                           addressed as follows:...

                                                           To Bayou City Waterkeeper:

                                                           Executive Director
                                                           Bayou City Waterkeeper
                                                           2010 N Loop W #103
                                                           Houston, TX 77018

¶ 126     If the City annexes new assets into its          If the City annexes new assets into its WCTS
          WCTS during the term of the Consent              during the term of the Consent Decree, it shall
          Decree, it shall provide written notice to       provide written notice to EPA​,​ and​ TCEQ​, and
          EPA and TCEQ under this Section within 45        BCWK​ under this Section within 45 Days. The
          Days. The Parties shall meet and confer          Parties shall meet and confer within 45 Days to
          within 45 Days to discuss and resolve all        discuss and resolve all issues raised by the
          issues raised by the Parties related to          Parties related to annexation.
          annexation.

¶      ...The City may reprioritize Work                   ...The City may reprioritize Work Projects...
131(c) Projects...provided such determination is           provided such determination is provided to EPA
       provided to EPA in writing and submitted to         in writing and submitted to EPA for review and
       EPA for review and approval at the time any         approval​, with a copy to BCWK,​ at the time any
       change under this Paragraph is requested.           change under this Paragraph is requested.




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                                IV.    Addressing and Monitoring Causes of SSOs

      The Agencies may resolve the City’s Clean Water Act violations through a consent decree that is fair,
      adequate, and reasonable, as well as consistent with the public interest, and which “further[s] the
      objectives of the law upon which the complaint was based.”25 For the reasons described in this section,
      the consent decree falls short of this standard.

      1. Data purporting to support consent decree is incomplete

      The consent decree directs the City to “address the effluent limit exceedances from the WWTPs
      specified in Appendix E.” This Appendix, however, does not address the full range of overflows and
      discharges raised in either Bayou City Waterkeeper’s citizen suit or the Agencies’ enforcement action,
      which purports to cover violations since at least August 2005. ​See, e.g.,​ Complaint at ¶ 50, ​et seq​. It is
      unclear from the face of the consent decree how it addresses exceedences not listed in this Appendix
      that are the subject of the underlying litigation.

      In responding to these comments, the Agencies must account for these deficiencies and explain how
      the consent decree addresses the full scope of violations raised in Bayou City Waterkeeper’s citizen
      suit and the Agencies’ enforcement action. If any known sources of pollution will not be addressed
      through the consent decree, the Agencies must explain why, and explain how the consent decree will
      nevertheless further the objectives of the Clean Water Act and be consistent with the public interest.

      If the Agencies cannot do this, we urge them to withhold their consent until the consent decree is
                                                                                                    ​ raft
      modified to address the full scope of legal violations underlying this draft settlement. ​See D
      Consent Decree, ¶ 138; Texas Water Code § 7.110(c).

      2. More information is needed about the prioritization of projects, and the consent decree
         should require additional factors to be used in prioritization

      It is unclear how the prioritization framework in Appendix D governed the selection of projects required
      by the draft consent decree. In responding to these comments, the Agencies should explain why the
      factors listed were selected and the role each factor played in project selection. The Agencies should
      also explain if a facility meeting a given criterion (e.g., “flood zone”) must be altered on an expedited
      basis or at all, or if any given criterion is regarded as one factor of many that may, or may not, result in
      a project being prioritized or undertaken. Further, the Agencies should explain if the prioritization
      framework resulted in any projects being altogether excluded from the Early Action list.

      Further, for projects selected, while Appendix D lists “scoring criteria,” the consent decree does not list
      what score projects received under this framework or otherwise explain the reasoning behind the
      selection and prioritization of projects. The Agencies should update this Appendix to list the projects’
      scores or otherwise explain the reasoning behind the selection and prioritization of projects.

      Further, with respect to floodplain terminology, the consent decree does not state what metric is being
      used to determine the 100-year floodplain and 500-year floodplain used in the prioritization framework.
      The Agencies should explain how these criteria were defined. To future-proof Houston’s wastewater
      system, the consent decree must explicitly require the City must be required to use the best, latest
      floodplain data in its planning and prioritization. This data necessarily will evolve over the life of the


25
     ​Frew v. Hawkins​, 540 U.S. 431, 437 (2004).

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     consent decree. At a minimum, any updates to the NOAA floodplain maps, including any state or
     federal agency supplements to that data that expand the floodplain, should be applied throughout the
     consent decree’s 15-year timeline.

     As discussed in Section VI, the City’s aging wastewater infrastructure has disproportionately affected
     lower-income communities of color. The impacts on these communities must be included as a factor in
     prioritization, and the order of projects must be adjusted to account for the inclusion of this factor.

     The Agencies must also explain whether this prioritization framework resulted in any projects being
     excluded and why other projects, including any projects to address problems at the WWTPs
     themselves, were not included.

     3. Early Action Projects must be completed on a quicker timeline than ten years

     Several of the Early Action Projects have deadlines for completion in 2028, 2029, and 2030. There is
     nothing “early” about deadlines nine to eleven years into the future. By delaying repairs so far into the
     future, the draft consent decree undermines the likelihood that the City will be in compliance with the
     Clean Water Act by the end of its term. In responding to these comments, we ask the Agencies to
     justify any compliance terms for Early Action Projects that are longer than two years.

     4. The length for compliance under the consent decree is too long

     The State of Texas regulates the City’s wastewater treatment and collection systems through the
     Texas Pollutant Discharge Elimination System (“TPDES”) program, by which the State has assumed
     federal regulatory authority over the discharge of pollutants under the Clean Water Act. Under its
     memorandum of agreement with the federal government, the TCEQ “has the primary responsibility to
     establish the TPDES program priorities, so long as they are consistent with Clean Water Act and
     NPDES goals and objectives.”26 The Clean Water Act and NPDES program set clear goals: eliminate
     discharges of pollutants into water and “restore and maintain the chemical, physical, and biological
     integrity of the Nation’s waters.” ​See ​33 U.S.C. § 1251.

     The City spent more than $3 billion over 30 years on its wastewater infrastructure. It still is not
     complying with the Clean Water Act. The Agencies based their enforcement action on the City’s failure
     to comply with the Clean Water Act and Texas Water Code since at least August 2005—nearly 15
     years. By setting a long compliance period, the consent decree will allow the City to continue to
     discharge effluent into area waters for yet another 15 years. At the end of the consent decree, the City
     will have been out of compliance for up to 45 years—longer than the average Houstonian has been
     alive. This is unacceptable.

     The deadlines set under the consent decree will determine water quality in Houston’s bayous and
     Galveston Bay for at least the next 15 years. Without further justification, the current 15-year timeline
     for compliance is too long to fulfill the goals of the Clean Water Act and TPDES program. To compare,
     deadlines for the recent Metropolitan St. Louis Sewer District’s consent decree began as quickly as




26
  Memorandum of Agreement Between the Texas Natural Resource Conservation Commission and the US EPA, Region
6 Concerning the National Pollutant Discharge Elimination System (Sep. 14, 1998), available at
https://www.tceq.texas.gov/assets/public/permitting/waterquality/attachments/municipal/c1.pdf

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     one month for the system characterization report; every consent decree requirement had to be met
     within two years of the effective date.27

     In responding to these comments, we ask the Agencies to justify any consent decree compliance term
     longer than five years.

     5. The draft consent decree does not fully address known sources of pollution

     Appendix E of the draft consent decree reveals clear patterns in the reported reasons for effluent
     violations across different treatment facilities. The draft consent decree does not address many of
     these causes. The principal causes of reported violations, and our recommendations for addressing
     them, are:

                       Reported Cause                                     Bayou City Waterkeeper’s
                                                                         Comments/Recommendations

      Weather conditions, rainfall, thunderstorms,             See “Green Infrastructure & Wet Weather” section
      and associated hydraulic surges through the              immediately below.
      plant from infiltration and inflow. Hydraulic
      surges resulting in incomplete disinfections.


      Equipment failures, malfunctions, tripped                Equipment failures are inevitable, but associated
      pumps, lost prime on pumps, tripped blowers              effluent violations are not. Solutions include more
      and broken equipment: chlorination feeds,                frequent and comprehensive maintenance, staff
      return sludge pumps, broken diffuser heads,              training, an on-site inventory of equipment
                                                               replacement and parts, and information regarding
      alarm system, clarifiers; blowers, clarifier
                                                               where remaining critical spare parts can be
      skimmer arm, onsite oxygen plant,
                                                               secured to minimize repair or replacement times.28
      pre-analyzer pump, bleach feed analyzer,
      dryers, filtration systems, hydraulic value
      systems. Problems are sometimes associated
      with high ambient temperatures and/or fouled
      aeration basin diffusers; air leaking out of an
      empty basin, air leaks.


      Clogged, fouled, and debris-plugged equipment:           Clogged, fouled and debris-plugged equipment
      sludge return telescopes, return lines, clarifiers,      can be eliminated by specifying regular
      center wells, rags on UV bulbs, aeration basin           maintenance requirements at short implementation
      diffusers, air flow restrictions on old air filters      intervals. Essential components like air filters can
                                                               be replaced on a regular schedule before failure or
                                                               earlier within their lifecycle. Review the treatment
                                                               train for opportunities for earlier debris and grit
                                                               screening. Rag interference with UV bulbs,
                                                               typically a final treatment step, raises questions


27
  https://www.epa.gov/sites/production/files/2013-09/documents/stlouis-cd.pdf
28
  ​See, e.g.,​ requirements associated with the City of Atlanta’s Maintenance Management System in Atlanta’s First
Amended Consent Decree, at p.14-16, available at
https://www.epa.gov/sites/production/files/documents/atlanta1999-cd.pdf

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                                                               about the efficacy of the entire treatment train.

        Lift station failures: pump failures, unprimed         Numerous problems are associated with lift station
        pumps surges when pumps are restarted or               pump failure. Lift station solutions could include
        re-primed. Septic influent into treatment streams      preventive maintenance, SCADA monitoring and
        when lift stations are brought back online following   control, 24/7 staff monitoring, wet well high- and
        extended outages                                       low-level alarms, malfunction alarms and
                                                               automatic dialers, backup power supply, and pump
                                                               redundancy.29

        Key equipment out of service for maintenance: air      Service requirements should not result in effluent
        lift pump stations, blowers                            violations. The Consent Decree should require
                                                               procedures to maintain treatment capacity during
                                                               equipment out-of-service periods adequate to
                                                               achieve permit compliance for predicted influent
                                                               flows during rain events up to the 5-year, 24-hour
                                                               amount of 6.94 inches.

        Inadequate staffing and routine maintenance:           Staffing and maintenance specifications requiring
        aeration blowers off and not identified until the      24/7 staffing, preventative maintenance schedule
        morning shift arrives; preventive maintenance          and procedures for all equipment and processes
        discovering that 72 UV lights are burned out.          designed to rehabilitate or replace equipment prior
        Communication failure: control center failing to       to failure. Specification of maintenance staff
        notify operator on time.                               training and education requirements. A
                                                               communication plan between staffed pump
                                                               stations and treatment facilities, field crews and
                                                               supervising staff.30

        Planned sludge over-wasting anticipating               Sludge wasting plans and procedures to maintain
        wet-weather flow surges.                               adequate capacity for wet-weather flow surges
                                                               without violating effluent limits.

        Equipment problems that persist for more than          Improve equipment repair and maintenance
        four months, despite records of numerous work          procedures to maintain permit compliance for
        orders for repair.                                     predicted influent flows during rain events up to
                                                               the 5-year, 24-hour amount of 6.94 inches.

        Power failures, electrical problems, and power         Back-up power sources at treatment facilities and
        surges at lift stations, return flow stations,         pump stations. Procedures to ensure that
        disinfection systems, and entire treatment plants      equipment or power failures during abnormal or
        for up to 10 hours. Simultaneous failures: multiple    emergency conditions are corrected as quickly as
        return activated sludge pumps.                         possible to limit facility downtime.

        Copper and zinc toxicity, with copper toxicity         Eliminate algaecides using copper or other toxic
        possibly associated with the use of an algaecide.      metals. Do not modify permits to raise limits
        Corrective action described as raising copper          because that would violate the anti-backtracking
        limits in the permit.                                  rule.

        Potential violations occurring when equipment is       Plan for back-up equipment so no violations occur


29
     ​See id.
30
      ​See id.

                                                                                                                    14
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        out of service for repair: clarifiers, aeration        when routine repairs are needed.
        blowers, aeration mixers, grit/debris removal.
        Associated problems when failure occurs in limited
        available process trains.

        Contractor error. On-going contractor activities that Improve contractor training. Require contractor
        require all blowers to be turned off.                 bonding against errors. Require contractor
                                                              schedules showing dates that equipment will be
                                                              removed from and returned to service. Require
                                                              work plans that provide for routing wastewater to
                                                              alternative treatment trains during the period that a
                                                              unit is out of service. Schedule contractor activities
                                                              so that treatment capacity remains available to
                                                              achieve permit compliance for predicted influent
                                                              flows during rain events up to the 5-year, 24-hour
                                                              amount of 6.94 inches.

        Elevated influent BOD loading from Anheuser            Implement fines and penalties for business like
        Busch.                                                 Anheuser Busch, whose sewage results in a
                                                               permit violation.



      The consent decree must incorporate specific terms that address the underlying causes of the City’s
      wastewater treatment violations. At a minimum, we recommend that the consent decree incorporate
      similar protective measures as those found in Sections VII and VIII of the City of Atlanta’s First
      Amended Consent Decree, which includes detailed wastewater treatment facility maintenance,
      operations, safety, and staff training program requirements.31 Similar requirements in Houston’s draft
      consent decree would directly address many of these documented treatment system failures. Given
      the City’s failure to comply with the Clean Water Act for years (if not decades), specific, clear
      measures are needed to drive the City into compliance.

      6. The consent decree does not adequately address FOGs and SSOs from private laterals,
         which are a major source of SSOs, particularly in low-income neighborhoods of color

      The City has identified fats, oils, and grease as a major cause of SSOs. This cause contributes to
      many of the reported SSOs in low-income communities of color and often occur as a result of a
      blockage in a private lateral sewer line. To illustrate, in 2015 alone, the City reported more than 1500
      discharges related to private cleanouts or service lines. To address these SSOs among residential
      users, the draft consent decree simply requires the City to continue educational efforts, tell residential
      homeowners to call a plumber, and conduct a follow-up inspection. If the homeowner does not
      address the problem, the City “may pursue any of its enforcement options allowed by law.”32

      By merely requiring the City to tell homeowners to call a plumber and selectively resort to enforcement
      against homeowners who lack adequate financial resources, the draft consent decree does not
      adequately account for a major source of water pollution. Paragraph 43 of the draft consent decree
      must be amended to include a new subparagraph l to require the City to develop a plan for providing


31
     ​See id.
32
     Draft Consent Decree ¶ 43(g)-(k).

                                                                                                                   15
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     financial assistance to repair private laterals. The Houston-Galveston Area Council has gathered
     examples of municipalities that have implemented similar programs.33

     After the City has completed this analysis, the Agencies should allow the City to redirect penalties into
                                                                                   ​ ection VI-4 below.
     a SEP to offset costs associated with this financial assistance program. ​See S

     7. The penalties assessed are insufficient to deter future noncompliance

     In Bayou City Waterkeeper’s lawsuit, we identified more than 9,300 overflows and discharges which
     we contend violate the Clean Water Act. The Agencies’ enforcement action purports to be broader in
     scope.

     The applicable penalty under the Clean Water Act varies by the year of the underlying violation. For
     the time period covered by Bayou City Waterkeeper’s intervention and citizen suit, penalties ranged
     from $37,500 to $53,484 per day, per violation. For illustrative purposes, based on Bayou City
     Waterkeeper’s lawsuit alone, we would expect the City to be liable for hundreds of millions of dollars in
     penalties. The consent decree requires the City to pay the federal and state governments only $4.4
     million in penalties.34

     Under the Clean Water Act, penalties are mandatory.35 “In determining the amount of a civil penalty
     the court shall consider the seriousness of the violation or violations, the economic benefit (if any)
     resulting from the violation, any history of such violations, any good-faith efforts to comply with the
     applicable requirements, the economic impact of the penalty on the violator, and such other matters as
     justice may require.” EPA’s policy emphasizes that the agency “seeks substantial penalties in order to
     deter noncompliance. Penalties promote environmental compliance and help protect public health by
     deterring future violations by the same violator and other members of the regulated community. ...
     Thus, any mitigation of penalties must be carefully considered."36

     In responding to these comments, the Agencies must explain why they did not seek substantial
     penalties in these circumstances, particularly in light of the City’s long-time noncompliance with the
     Clean Water Act, the City’s failure to resolve violations through past settlements with the Agencies,
     and the consent decree’s lack of provision for Supplemental Environmental Projects.

     8. Financial reasons cannot justify delays or inadequate remedial measures

     Financial reasons cannot justify extending time frames for compliance with the Clean Water Act and
     Texas Water Code. The consent decree may provide for—and/or the City may explore—other ways to
     address cost concerns over the long-term, including progressive sewer rates, the implementation of
     energy-saving technology, and applying for financial assistance to offset costs associated with
     resilience-related measures and wet-weather improvements. For example, the Texas Water




33
   H-GAC, BIG Sanitary Sewer Systems Workgroup,
http://www.h-gac.com/bacteria-implementation-group/workgroups/wastewater-sanitary-sewer-systems.aspx
34
   Draft Consent Decree, ¶ 47.
35
   33 U.S.C. § 1319(d).
36
   EPA, Issuance of the 2015 Update to the 1998 U.S. Environmental Protection Agency Supplemental Environmental
Projects Policy, at 21 (Mar. 10, 2015),
https://www.epa.gov/sites/production/files/2015-04/documents/sepupdatedpolicy15.pdf.

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     Development Board loaned the City of Austin $53 million for wastewater system improvements.37 In
     2015, DC Water issued the first Environmental Impact Bond to finance the construction of green
     infrastructure for Rock Creek sewer shed as part of its $2.6 billion DC Clean Rivers Project.38

     Projects like the North Canal flood project, which reportedly will receive $46 million from FEMA to
     address flooding at White Oak Bayou and Buffalo Bayou, a site of frequent overflows, present
     opportunities to improve wastewater infrastructure.39 ​See ​Section X. The consent decree must make
     sure these opportunities are not missed.

     Also, by improving community engagement relating to wastewater infrastructure, the City can more
     realistically set residents’ expectations about any needed rate increases and engage the public in
     finding solutions to offsetting rate increases.

                                  V.    Green Infrastructure & Wet Weather

     1. Houston’s wet weather increases SSOs across the City’s wastewater facilities

     Wet weather influences and exacerbates the City’s wastewater problems. ​See D     ​ raft Consent Decree,
     Appendix E. From 2013-2018, excluding Harvey, the City reported that more than 15 million gallons of
     wastewater left the system untreated when it rained.40 While we might expect once-in-a-generation storms
     to disrupt the functionality of Houston’s wastewater infrastructure, the City has reported effluent standard
     violations for pathogen indicators, ammonia, biochemical oxygen demand, and total suspended solids
     after even less than a half-inch of rain.

     From 1/1/16 to 12/31/17, IAH’s weather station reported 68 days with at least a half-inch of rain.41 If the
     City’s wastewater collection and treatment system (“WCTS”) is vulnerable to rain amounts this low,
     wastewater permit violations could be expected to occur, on average, every 11 days. Indeed:

     ●   From February 2016 to August 2017 (excluding Harvey), WCTS associated with 69th Street WWTP
         spilled more than 5.1 million gallons of untreated wastewater during 78 separate rain events
     ●   From March 2016 to January 2017, WCTS associated with Sims Bayou WWTP spilled more than
         200,000 gallons of untreated wastewater during 21 separate rain events
     ●   From March 2016 to August 2016, WCTS associated with Almeda Sims WWTP spilled more than
         50,000 gallons of untreated wastewater during 11 separate rain events.

     These repeated events diminish water quality, pose a risk to public health, and must be addressed.



37
    Press Release, Texas Water Development Board approves $120,830,000 to the City of Austin (Travis, Williamson and
Hays counties) for water and wastewater system improvements (Oct. 3, 2019),
http://www.twdb.texas.gov/newsmedia/press_releases/2019/10/austin.asp
38
   Julie King, Considering Bonds To Fund Green And Hybrid Infrastructure (Oct. 8, 2019),
https://www.wateronline.com/doc/considering-bonds-to-fund-green-and-hybrid-infrastructure-0001
39
    Zach Despart & Jasper Scherer, FEMA approves initial funding for long-sought North Canal flood project, Houston
Chronicle (Oct. 11, 2019),
https://www.houstonchronicle.com/news/houston-texas/houston/article/FEMA-approves-initial-funding-for-long-sought-14
515615.php
40
    Bayou City Waterkeeper’s analysis of the data that the City reported to the TCEQ.
41
    ​See ​data collected at IAH by the National Oceanic & Atmospheric Administration here:
https://www.ncdc.noaa.gov/cdo-web/datasets/GHCND/stations/GHCND:USW00012960/detail

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     2. Green infrastructure reduces the harms associated with wet-weather SSOs

     While green infrastructure projects have more frequently been used to address combined sewer
     overflows, the EPA has recognized that green infrastructure may offer similar benefits to sanitary sewer
     systems.42 According to the City’s own report, green infrastructure may “reduce drainage system costs...
     improve neighborhood resilience, reduce drainage concerns, ...and improve public health.”43 Overall,
     green infrastructure is one of the most efficient and cost-effective means of addressing pollutant infiltration
     and volume overflow that arise from wet-weather SSOs and may complement use of gray infrastructure
     across a wastewater system.

     Given these benefits, the consent decree must expressly allow green infrastructure to address wet
     weather-related SSOs. At a minimum, the consent decree must require the City to study how green
     infrastructure may address sites of frequent SSOs, and require the Houston Public Works Department to
     submit a green infrastructure plan to the EPA and to the public. A green infrastructure plan focusing on
     sanitary sewer infrastructure would provide the opportunity to better understand the benefits of green
     infrastructure and identify pilot projects that work effectively with Houston’s landscape.

     The City of Milwaukee’s green infrastructure planning over the last six years offers a model for the City to
     consider in its green infrastructure study under the consent decree.44

     3. Green infrastructure aligns with the City’s broader development goals

     Citing green infrastructure’s myriad benefits to the public, individuals, and developers, the City’s​ Incentives
     for Green Development r​ ecommends economically incentivizing developers to incorporate green
     infrastructure into construction projects, including rain gardens, green roofs, permeable pavement,
     rainwater harvesting, soil amendments, urban forestry, and bioswales.45 Each type of green infrastructure
     lists “Improves stormwater management” as its first public benefit.46

     The City’s draft outline Resilience Plan also contemplates several actions relating to green infrastructure,
     all of which potentially implicate the City’s efforts to meet the goals of the consent decree:47

            ●   Action 7: Prepare Houston’s workforce and all young Houstonians for the jobs of the future...
                    ○ Sub-action 7.3: Train and develop a green infrastructure workforce
            ●   Action 21: Make Houston neighborhoods more green...
                    ○ Sub-action 21.1: Make equitable Green Infrastructure investments
            ●   Action 36: Integrate green infrastructure into Houston’s built environment
                    ○ Sub-action 36.1: Lead by example on green infrastructure
                    ○ Sub-action 36.2: Apply a resilient quotient to Green Stormwater Infrastructure projects

42
   ​Green Infrastructure Permitting and Enforcement Series: Factsheet 3, Sanitary Sewer Overflows,​ EPA 5,
https://www.epa.gov/sites/production/files/2015-10/documents/epa-green-infrastructure-factsheet-3-080612.pdf.
43
    ​Id.​ at 5.
44
   Milwaukee Metropolitan Sewerage District, Regional Green Infrastructure Plan (June 2013), available at
https://www.mmsd.com/static/MMSDGIP_Final.pdf.
45
   Houston Incentives, at 8-15.
46
     ​Id.
47
   Resilient Houston, Draft Outline for Feedback Purposes: September 10, 2019 to October 1, 2019,
https://www.houstontx.gov/mayor/Resilient-Houston-Draft-Outline-20190910.pdf

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                    ○ Sub-action 36.3: Create a comprehensive nature-based solutions program
                    ○ Sub-action 36.4: Develop nature-based solutions pilot program...
            ●   Action 40: Continue to implement the Houston Complete Streets and Transportation Plan
                (HCSTP)...
                    ○ Sub-action 40.3: Update HCSTP to incorporate green infrastructure priorities

     4. Green infrastructure offers benefits beyond mitigating SSOs

     As both the City and EPA have documented, green infrastructure has benefits beyond reducing sewer
     overflows by managing stormwater:48 it mitigates flooding, increases community resilience, improves water
     quality, reduces the urban heat island effect, improves habitat and conditions for native flora and fauna,
     and beautifies public spaces.49

     While the scope of the consent decree is limited to addressing the City’s SSO problem, identifying
     multifaceted solutions is important; the City has a limited budget and must address a range of other
     related obligations, including recovering from Harvey and Imelda, fulfilling the goals of its climate and
     resilience planning, and meeting other obligations under federal and state environmental law. With those
     considerations in mind, the Agencies should strongly consider the additional benefits of green
     infrastructure projects in determining whether and where to include them in this consent decree.

     5. Green infrastructure projects are present in many similar consent decrees, are encouraged by
        the EPA, and have been historically successful and cost-effective

     The EPA historically has encouraged the implementation of green infrastructure, including in cities with
     sanitary sewer systems like Houston.50 Three examples are the government’s consent decrees with the
     Louisville and Jefferson County Metropolitan Sewer District in 2009, Kansas City in 2010, and the City of
     Chicago in 2011. The Milwaukee Sewerage District’s green infrastructure planning over the last decade
     also offers an excellent model for the City to consider.51 The EPA also has compiled a list of examples of
     Clean Water Act enforcement cases that include green infrastructure.52

            a. Louisville and Jefferson County Metropolitan Sewer District

     In its 2009 amended consent decree, Louisville’s Metropolitan Sewer District (“MSD”) was given six years
     period to study how green infrastructure might address its combined and sanitary sewer overflows, which
     has since resulted in the implementation of over 100 projects.53 Projects range from downspout

48
   ​Id.;​ ​What is Green Infrastructure?,​ EPA https://www.epa.gov/green-infrastructure/what-green-infrastructure (all
electronic sources last visited Oct. 1, 2019).
49
    ​Id.
50
     ​Green Infrastructure Permitting and Enforcement Series: Factsheet 3, Sanitary Sewer Overflows,​ EPA 5,
https://www.epa.gov/sites/production/files/2015-10/documents/epa-green-infrastructure-factsheet-3-080612.pdf.
51
      ​See ​Milwaukee Metropolitan Sewerage District, Regional Green Infrastructure Plan (June 2013), available at
https://www.mmsd.com/static/MMSDGIP_Final.pdf; City of Milwaukee Green Infrastructure Plan (June 2019), available at
https://city.milwaukee.gov/ImageLibrary/WCC/Images/GreenLots/FINALGIPLAN--reduced_2.pdf.
52
       ​Enforcement: Examples of settled Clean Water Act enforcement cases that include green infrastructure​, EPA,
https://www.epa.gov/green-infrastructure/enforcement
53
        ​Green Infrastructure Permit and Enforcement Series Supplement 1: Consent Decrees that Include Green Infrastructure
Provisions,​ EPA 5,
https://www.epa.gov/sites/production/files/2015-10/documents/epa-green-infrastructure-supplement-1-061212-pj.pdf.

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     disconnection to urban reforestation, and from permeable pavement to stormwater retention areas.54 MSD
     listed 12 new green infrastructure projects that are being designed or are under construction in its latest
     quarterly report that are estimated to provide 8,027,338 gallons of residual average annual overflow
     reduction, and have an incentive value of $3,406,210.55 It noted in its annual report that it is working with
     EPA’s Office of Research Development to monitor two particular areas “where green infrastructure
     alternatives have demonstrated more favorable benefit/cost ratios than overflow storage basins,” and will
     publish findings in a future annual report.56

            b. Kansas City

     Kansas City’s 2010 consent decree provided for green infrastructure over nearly 750 acres to store
     enough stormwater to reduce overflows at two outfalls to six per year, and stipulated pilot projects be
     developed in several areas.57 The 750 acres are meant to hold 3.5 million gallons of stormwater storage
     and are the sole control of overflows in that area, a project that is estimated to save the city $10 million in
     capital costs relative to the gray infrastructure alternatives.58 Another significant green infrastructure
     project is the Keep Out the Rain Program, which helps residents identify and correct illegal sewer and
     rainfall connections that send rainwater into the sanitary sewer for free.59 26 other green infrastructure
     contracts, valued at $51 million, have helped fulfill consent decree requirements.60 Kansas City also maps
     its green infrastructure projects including rain gardens and bioswales,61 and has a green neighborhood
     recognition program.62

            c. Chicago

     Chicago’s 2011 consent decree required a rain barrel program to distribute 15,000 low or no cost rain
     barrels within five years, and a cumulative total of 10 million gallons of design retention capacity of green
     infrastructure projects within 15 years.63 It also required the development of a comprehensive land use
     policy, green infrastructure controls, community assistance, and projects or collaborations with local



54
   ​See, e.g., Green Infrastructure Program​, Louisville MSD, http://louisvillemsd.org/GreenMSD.
55
    ​Louisville and Jefferson County Wet Weather Consent Decree Quarterly Report #55,​ Louisville MSD 21 (July 30,
2019),
http://msdprojectwin.org/Portals/0/Library/Consent%20Decree%20Reporting/Quarterly%20Reports/2019/Quarterly%20R
eport%20Number%2055%20April%201%202019%20June%2030%202019%20dated%20July%2030%202019.pdf.
56
     ​Louisville and Jefferson County Wet Weather Consent Decree Annual Report,​ Louisville MSD 100 (Dec. 30, 2018),
http://msdprojectwin.org/Portals/0/Library/Consent%20Decree%20Reporting/Annual%20Reports/Consent%20Decree%2
0Fiscal%20Year%202018%20Annual%20Report.pdf.
57
      ​See ​City of Kansas City, Missouri Consent Decree, Appendix A at 8–13 (May 2010),
https://www.epa.gov/sites/production/files/documents/cityofkansascity-cd.pdf
58
       ​Kansas City, Missouri: A Case Study of How Green Infrastructure is Helping Manage Urban Stormwater Challenges,​
NRDC 3, https://www.nrdc.org/sites/default/files/RooftopstoRivers_KansasCity.pdf.
59
        ​Keep Out the Rain Program​, City of Kansas City,
https://www.kcmo.gov/programs-initiatives/smart-sewer/keep-out-the-rain-program.
60
         ​ ​mart Infrastructure Update: Kansas City’s Capital Improvement Projects Fiscal Year 2020,​ City of Kansas City 15
          S
(Feb. 19, 2019), https://www.kcmo.gov/home/showdocument?id=84.
61
          ​KC Green Project Map,​ City of Kansas City, https://www.kcmo.gov/programs-initiatives/kc-green/kc-green-project-map.
62
           ​Neighborhood Recognition Program​, City of Kansas City,
https://www.kcmo.gov/programs-initiatives/kc-green/neighborhood-recognition-program.
63
   Metropolitan Water Reclamation District of Greater Chicago Consent Decree, Appendix E at 1–5 (Dec. 2011),
https://www.epa.gov/sites/production/files/documents/mwrd-cd_0.pdf

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     communities.64 Although there are no specific projects listed, the consent decree provides for a calculation
     of design retention capacity toward the 10 million gallon goal per 100 square feet of: rain gardens, native
     landscaping, stormwater trees, porous pavement, bioswales, green roofs, and greenways.65

     6. At a minimum, the consent decree must require the City to study and report on opportunities
        for using green infrastructure

     Green infrastructure is a cost-effective complement to existing gray infrastructure solutions in the consent
     decree and provides other services that are important to the City and its goals. Even if the DOJ chooses
     not to include the specific projects below in Houston’s consent decree, it should at least require the City to
     study the suitability of green infrastructure solutions across the sanitary sewer system, and provide for the
     development of pilot projects to test for large-scale viability. Such study periods and pilot projects are
     present in several other consent decrees and have been effective, such as in Louisville and Kansas City.66

     Any green infrastructure project undertaken, including those specified below, must be backed by research
     to ensure that it is feasible and effective. In the context of sanitary sewer systems such as Houston’s, the
     goal of green infrastructure is to reduce inflow and infiltration of stormwater into the sewer.67 Some green
     infrastructure projects—namely programs that target illicit connections between stormwater drainage and
     the sanitary sewer system—can directly reduce inflow by preventing water that would otherwise flow into
     the sanitary sewer from reaching inflow locations at all. But other projects focused on stormwater retention
     carry a risk of increasing infiltration if executed improperly.68

     The siting, soil type, and vegetation of such projects must be researched and accounted for in order to
     ensure each project’s success and effectiveness.69 As long as the City properly locates retention projects
     far enough away from sewer lines based on the soil and vegetation present at the site and the resulting
     effects on groundwater hydrology, they can reduce inflow by reducing stormwater peak flow rates and
     runoff volume without increasing infiltration volume and providing other tangible benefits, including
     pollution reduction and flood mitigation.70

     7. Potential green infrastructure pilot projects to include in the consent decree

     To help understand the benefits of green infrastructure to address the City’s storm-related SSOs, the
     consent decree also could require the City to complete pilot projects. Based on our review of the City of
     Houston’s self-reported SSOs, Bayou City Waterkeeper identified several areas subject to repetitive,
     large-scale SSOs during wet weather, including:

64
   ​Id.​ at 2–4.
65
    ​Id. a  ​ t 5.
66
   Houston Incentives, at 5-6. All four examples on those pages have some combination of a study period and pilot
projects. Kansas City in particular identified specific locations where pilot projects were required to be developed. ​See
supra​ note 13.
67
   Karen Sands & Tom Chapman, ​Why Green Infrastructure and I/I Control Go Hand in Hand​, WaterWorld (Feb. 1,
2011),
https://www.waterworld.com/municipal/drinking-water/infrastructure-funding/article/16192310/why-green-infrastructure-an
d-ii-control-go-hand-in-hand.
68
     ​Determining the Potential of Green Infrastructure to Reduce Overflows in Milwaukee,​ Fresh Coast Guardians 56 – 58
(Dec. 20, 2011), https://www.freshcoastguardians.com/application/files/7915/0427/9938/GI_Potential_w.pdf.
69
      ​Id.
70
       ​Id.

                                                                                                                       21
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     ●   University of Houston-Downtown;
     ●   Parker Road near IH 69;
     ●   Wrightwood Street near Woodland Park;
     ●   Cambridge Street near Old Spanish Trail in the Medical Center; and
     ●   Wheeler Avenue near the University of Houston College of Optometry.71

     Each area has had SSOs that are attributed to wet weather events, which indicates that inflow and
     infiltration are at least partially to blame, and thus the use of green infrastructure to reduce stormwater
     impact can help these areas and complement the existing gray infrastructure projects.72

     All of these locations, but the last, are listed in Appendix C, which identifies locations with capacity
     constraints. The consent decree should include this location on Appendix C, or the Agencies and/or City
     should explain how capacity constraints at this location have been resolved. In addition to the locations
     outlined below, the City also should evaluate the other locations on Appendix C, not discussed here, for
     green infrastructure projects, particularly the location identified as “Area 6.” Overflows at this location pose
     a particular concern for public health given its proximity to JP Henderson Elementary School.

     Based on other consent decrees and green infrastructure projects in urban areas, Houston’s consent
     decree should require the City to research and develop pilot projects for green infrastructure to ease the
     burden on the sanitary sewer system. A general pattern for approaching research and developing projects
     could be focusing on things like green roofs, permeable pavement, and bioswales73 in high-density urban
     areas; looking into stormwater wetlands, and rain gardens in lower density and parkland areas; promoting
     neighborhood measures like rainwater cisterns, downspout disconnection (akin to the Kansas City “Keep
     Out the Rain” program), pocket parks, pocket wetlands, and rain gardens in suburban neighborhoods; and
     generally improving stormwater capacity and flood prevention measures along the existing natural
     waterways.

            a. University of Houston-Downtown at Buffalo Bayou and White Oak Bayou

     The City has frequently reported storm-related overflows at the University of Houston-Downtown, which
     sits above White Oak Bayou and Buffalo Bayou. During Imelda, the City reported a 275,100-gallon
     overflow at this location,74 and in December 2018, the City reported a 117,000-gallon overflow.75 In our



71
   Draft Consent Decree, Appendix C, Areas 1, 2, and 4. Wheeler Ave. is not included on any of the maps in Appendix C.
72
   Karen Sands & Tom Chapman, ​Why Green Infrastructure and I/I Control Go Hand in Hand​, WaterWorld (Feb. 1,
2011),
https://www.waterworld.com/municipal/drinking-water/infrastructure-funding/article/16192310/why-green-infrastructure-an
d-ii-control-go-hand-in-hand
73
   The plethora of large surface parking lots in particular are excellent candidates for permeable pavement and vegetated
swales. ​See generally​ ​Green Parking Lot Resource Guide,​ EPA,
http://www.streamteamok.net/Doc_link/Green%20Parking%20Lot%20Guide%20%28final%29.PDF. Some types of
permeable pavement available to parking lots (such as synthetic grids [preferably made of recycled material] filled with
fine gravel) can be inexpensive to install and maintain, and be more effective at filtering pollutants than porous asphalt or
               ​ t 23–30.
concrete. ​Id. a
74
   City of Houston, Press Release (Sep. 20, 2019), available at
https://mailchi.mp/houstontx/spillnotice_eastexparker?e=1a59e9e012 (Intense, sustained, rainfall from Tropical Storm
Imelda resulted in the spill of [an estimated 275,100 gallons of] domestic wastewater at 100 North Milam Street at 700
Washington Avenue”) (last visited Oct. 3, 2019).

                                                                                                                          22
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     review of the City’s self-reported data, we found that the City reported more than 1.2 million gallons of
     wastewater spilling at this location in 2014 and 2015. Appendix C of the consent decree identifies this as a
     location facing capacity constraints.76

     In planning for green infrastructure and identifying potential green infrastructure pilot projects, the City
     should evaluate whether University of Houston-Downtown is a good candidate for green infrastructure
     projects to reduce inflow and infiltration, including:

     ●   Adapting undeveloped land west of the UH-Downtown campus into a stormwater wetland;
     ●   A green roof incentive program, focusing on the UH-Downtown campus, on the building west of
         Louisiana Street and north of Franklin Street, and on the buildings between Commerce Street and
         Franklin Street northwest of Fannin Street where possible; and
     ●   A permeable pavement and bioswale program in all the surrounding surface lots, particularly the lot on
         Washington Avenue, the lot on Main Street, and the lot surrounding the building on the north side of
         Franklin Street.

     Green infrastructure projects at this location may be developed to complement the North Canal flood
     project, which reportedly will receive $46 million from FEMA to address flooding in this location.77

            b. Parker Road by Halls Bayou

     The City has repeatedly reported overflows in the area around Parker Road near the Eastex Freeway,
     including an overflow of more than 100,000 gallons during Tropical Storm Imelda78 and a 168,000-gallon
     overflow in December 2018.79 According to Bayou City Waterkeeper’s review of the City’s self-reported
     SSOs, during eight separate rain storms in 2015, the City reported to the TCEQ that more than 1 million
     gallons of untreated wastewater spilled at this location alone. Appendix C of the consent decree identifies
     this as a location facing capacity constraints.80

     In planning for green infrastructure and identifying potential green infrastructure pilot projects, the City
     should evaluate whether Parker Road is a good candidate for green infrastructure projects to reduce
     inflow and infiltration, including:



75
   Nicole Hensley, Boil order issued for private well users after Houston rainstorm causes wastewater spillage (Dec. 10,
2018), available at
https://www.chron.com/news/houston-texas/houston/article/Boil-order-issued-for-private-well-users-after-13453193.php
76
   Draft Consent Decree, Appendix C, Area 3.
77
   Zach Despart and Jasper Scherer, FEMA approves initial funding for long-sought North Canal flood project, Houston
Chronicle (Oct. 11, 2019), available at
https://www.houstonchronicle.com/news/houston-texas/houston/article/FEMA-approves-initial-funding-for-long-sought-14
515615.php
78
   City of Houston, Press Release (Sep. 19, 2019), available at
https://mailchi.mp/houstontx/spillnotice_eastexparker?e=1a59e9e012 (explaining “Intense, sustained, rainfall of greater
than 9 inches in the last 24-hours resulted in the spill of [more than 100,000 gallons of] domestic wastewater at 10200
Eastex Freeway at Parker Road”) (last visited Oct. 3, 2019).
79
   Nicole Hensley, Boil order issued for private well users after Houston rainstorm causes wastewater spillage (Dec. 10,
2018), available at
https://www.chron.com/news/houston-texas/houston/article/Boil-order-issued-for-private-well-users-after-13453193.php
80
   Draft Consent Decree, Appendix C, Area 1.

                                                                                                                     23
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     ●   Adapting undeveloped land north of Parker Road leading up to Halls Bayou and around Shady Lane
         Park into a larger-scale stormwater wetland;
     ●   Paying for or incentivizing rain gardens in the area, particularly in the lower-density areas along the
         south portion of Parker Road, and along Shady Lane; and
     ●   Incentivizing a “Keep Out the Rain” program in the neighborhoods that feed the Parker Road sanitary
         sewer line whereby the City inspects for and fixes illegal stormwater flows from residences for free,
         along with downspout disconnection and rain barrel incentive programs.

            c. Wrightwood Street by Woodland Park and White Oak Bayou

     The City has reported repeated storm-related SSOs in the area around 1200-1400 Wrightwood Street, on
     the edge of Woodland Park and White Oak Bayou. From 2014-2016, the City’s self-reported data reflects
     that this location had at least 13 overflows that sent more than 1 million gallons of untreated wastewater
     into White Oak Bayou. As recently as December 2018, the City reported a 206,000-gallon overflow at this
     location.81 Indeed, Appendix C of the consent decree identifies this as a location facing capacity
     constraints.82

     In planning for green infrastructure and identifying potential green infrastructure pilot projects, the City
     should evaluate whether this portion of Wrightwood Street is a good candidate for green infrastructure
     projects to reduce inflow and infiltration, including:

     ●   Enhancing existing park facilities with stormwater wetlands or rain gardens in and around Woodland
         Park, and upstream along Little Whiteoak Bayou;
     ●   Turning White Oak Drive, particularly west of the Sabine Street intersection, into a green street, by
         adding planter boxes, bioswales, and permeable pavement; and
     ●   A “Keep Out the Rain” program in the neighborhoods that feed the Wrightwood Street sanitary sewer
         line whereby the City inspects for and fixes illegal stormwater flows from residences for free, along
         with downspout disconnection and rain barrel incentive programs.

            d. Cambridge Street in the Texas Medical Center near Brays Bayou

     The City has reported several storm-related SSOs in the area around Cambridge Street near Old Spanish
     Trail in the Medical Center. In 2015 alone, over several blocks on Cambridge in this area, the City
     reported 21 overflows, representing 1.9 million gallons of wastewater that left the system untreated.
     Appendix C of the consent decree identifies this as a location facing capacity constraints.83

     In planning for green infrastructure and identifying potential green infrastructure pilot projects, the City
     should evaluate whether this portion of Cambridge Street is a good candidate for green infrastructure
     projects to reduce inflow and infiltration, including:

     ●   A green roof incentive program, particularly on the numerous medical buildings in the area and in light
         of the lack of unpaved green space in the area;
81
   Nicole Hensley, Boil order issued for private well users after Houston rainstorm causes wastewater spillage (Dec. 10,
2018), available at
https://www.chron.com/news/houston-texas/houston/article/Boil-order-issued-for-private-well-users-after-13453193.php
82
   Draft Consent Decree, Appendix C, Area 2.
83
   Draft Consent Decree, Appendix C, Area 4.

                                                                                                                       24
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●   A rain garden “pocket park” or “pocket wetland” incentive program in the surrounding area;
●   A stormwater wetland or rain gardens on the west side of Cambridge Street, in between Lamar
    Fleming Street and Braeswood Boulevard;
●   A permeable pavement and bioswale program in all of the surrounding parking lots; and
●   A “Keep Out the Rain” program in the neighborhoods that feed the Cambridge Street sanitary sewer
    line whereby the City inspects for and fixes illegal stormwater flows from residences for free, along
    with downspout disconnection and rain barrel incentive programs.

        e. Wheeler Avenue at the University of Houston near Brays Bayou

The area around 8100 Wheeler Avenue near the University of Houston College of Optometry and Texas
Spur 5 had repeated storm-related SSOs during the time period reviewed by Bayou City Waterkeeper,
and particularly in 2016. From April to October of 2019, moreover, the City attributed five more overflows
at this location to wet weather, representing more than 86,320 gallons of untreated wastewater.

This location is not identified on Appendix C. The consent decree should include this location on Appendix
C, or the DOJ, State, and City should explain how capacity constraints at this location have been resolved.

In planning for green infrastructure and identifying potential green infrastructure pilot projects, the City
should evaluate whether 8100 Wheeler is a good candidate for green infrastructure projects to reduce
inflow and infiltration, including:

●   A green roof incentive program at the University of Houston;
●   Stormwater wetlands or rain gardens on the south side of Wheeler alongside Brays Bayou, and in the
    median between the opposing lanes of traffic on Texas Spur 5;
●   A permeable pavement and bioswale program in the University of Houston parking lots; and
●   A “Keep Out the Rain” program in the neighborhoods that feed the Wheeler Avenue sanitary sewer
    line whereby the City inspects for and fixes illegal stormwater flows from residences for free, along
    with downspout disconnection and rain barrel incentive programs.

8. Opportunities for green infrastructure in the consent decree

Bayou City Waterkeeper recommends the consent decree be modified to specifically require green
infrastructure planning within the consent decree:

    ¶                  Current Language                        Proposed Language (changes in bold)

 Whereas    None                                          WHEREAS, the City commits to implementing
                                                          green infrastructure – constructed projects that
                                                          redirect stormwater from reaching sewers by
                                                          capturing and diverting it to locations where it
                                                          is detained, infiltrated into the
                                                          ground,evaporated, taken up by plants, or
                                                          reused. The overall objective for the City’s
                                                          green infrastructure program is to identify and
                                                          implement projects and programs that will
                                                          significantly reduce wet weather-related SSOs.
                                                          Green infrastructure can supplement


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                                                               redevelopment efforts, add green space to
                                                               cities, increase recreational opportunities,
                                                               increase groundwater recharge, improve air
                                                               quality, increase property values, enhance
                                                               urban quality of life, and improve human health.
                                                               The City’s program focuses on
                                                               areas within the City that represent some of the
                                                               most economically-distressed portions of the
                                                               Houston community.84

        9                                                      [Add new definition]
                                                               “Green Infrastructure” shall mean systems and
                                                               practices that use or mimic natural processes to
                                                               infiltrate, evapotranspire, and/or harvest stormwater
                                                               on or near the site where it is
                                                               generated. Green Infrastructure may include, but is
                                                               not limited to, green roofs, downspout
                                                               disconnection, trees and tree boxes, rain gardens,
                                                               vegetated swales, pocket wetlands, infiltration
                                                               planters, vegetated median strips, permeable
                                                               pavements, reforestation, and protection and
                                                               enhancement of riparian buffers and floodplains.

        13      If a lack of capacity is determined to be      If a lack of capacity is determined to be the cause
                the cause of the SSOs..., the City shall       of the SSOs..., the City shall perform a capacity
                perform a capacity remedial alternatives       remedial alternatives analysis, ​including whether
                analysis to address the identified             green infrastructure could resolve or alleviate
                capacity constraint at the area                the capacity constraint,​ to address the identified
                associated with the WCTS asset and             capacity constraint at the area associated with the
                shall implement remedial action to             WCTS asset and shall implement remedial action
                address the capacity constraint.               to address the capacity constraint.

        19      The City shall conduct pilot studies to        The City shall conduct pilot studies to evaluate
                evaluate treatment technology for the          treatment technology ​and green infrastructure
                Scott Street and Northside WWFs to             alternatives​ for the Scott Street and Northside
                achieve effluent that meets the water          WWFs to achieve effluent that meets the water
                quality standards for the receiving            quality standards for the receiving stream and the
                stream and the CWA’s secondary                 CWA’s secondary treatment requirements.
                treatment requirements.

        20      The City shall conduct pilot studies           The City shall conduct pilot studies (such as, but
                (such as, but not limited to, flocculation,    not limited to, ​green infrastructure​, flocculation,
                filtration, and/or biological treatment) at    filtration, and/or biological treatment) at the Scott
                the Scott Street WWF and the Northside         Street WWF and the Northside WWF...
                WWF...

        25      The system-wide inspection and                 The system-wide inspection and assessment
                assessment activities are designed to          activities are designed to identify defects in the
                identify defects in the WCTS that have         WCTS​, including I/I entry points,​ that have

84
  Similar language was included in St. Louis’ consent decree.
https://www.epa.gov/sites/production/files/2013-09/documents/stlouis-cd.pdf

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         caused or significantly contributed to       caused or significantly contributed to previous
         previous SSOs...                             SSOs....

 29      Gravity Sewer Mains or manholes              Gravity Sewer Mains or manholes discovered to be
         discovered to be rated as Category 4         rated as Category 4 and 5 shall go into the City's
         and 5 shall go into the City's Remedial      Remedial Measures Alternative Analysis process,
         Measures Alternative Analysis process,       where the City determines the most practical
         where the City determines the most           solutions for resolving defects​, complementary
         practical solutions for resolving defects    green infrastructure projects where
         and the timetable for implementing those     appropriate,​ and the timetable for implementing
         solutions considering the long-term          those solutions, considering ​both​ the long-term
         performance.                                 performance ​and environmental impacts​.

 31      During the inspections, the City shall       During the inspections, the City shall assess each
         assess each Force Main by reviewing          Force Main by reviewing past maintenance
         past maintenance records, noting the         records, noting the age or installation date,
         age or installation date, physically         physically examining the air- or vacuum-release
         examining the air- or vacuum-release         valves, ​identifying I/I entry points and their
         valves, and visually inspecting the          hydrological sources or causes,​ and visually
         ground surface over the entire length of     inspecting the ground surface over the entire length
         the Force Main...                            of the Force Main...

32(ii)   SSOs;                                        SSOs, ​including I/I sources and local hydrology
                                                      that may contribute to SSOs during wet weather
                                                      events​;

 34      In each Annual Report, the City shall        In each Annual Report, the City shall document the
         document the inspection and Condition        inspection and Condition Assessment activities
         Assessment activities (Condition             (Condition Assessment Summary) undertaken by
         Assessment Summary) undertaken by            providing a summary of identified Category 1
         providing a summary of identified            through 5 Gravity Sewer Mains and manholes, as
         Category 1 through 5 Gravity Sewer           well as defects identified during the inspections of
         Mains and manholes, as well as defects       Force Mains and Lift Stations, ​I/I entry points, and
         identified during the inspections of Force   the effects of local hydrology on the identified
         Mains and Lift Stations.                     defects​.

 35      N/A                                          [Add to list]
                                                      vi. Green infrastructure projects

 40      The evaluation report shall assess the       The evaluation report shall assess the capability of
         capability of the WWTPs to function in       the WWTPs to function in accordance with their
         accordance with their permits during the     permits during the following five-year period ​and
         following five-year period.                  whether green infrastructure may be
                                                      implemented to improve each WWTP's
                                                      performance under their respective permits​.

40(c)    Provide recommendations and                  Provide recommendations and schedules for
         schedules for corrective actions that        corrective actions ​and complementary green
         shall be performed as identified in the      infrastructure projects​ that shall be performed as
         Annual report.                               identified in the Annual report.

43(k)    To address defective Private Laterals        To address defective Private Laterals that ​are


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            that are found to significantly contribute      found to significantly ​contribute I/I to a capacity
            I/I to a capacity constraint, the City shall:   constraint, the City shall:

43(k)(i)    The information, whether written or             The information, whether written or verbal, shall
            verbal, shall inform the owner to contact       inform the owner to contact a plumber to resolve
            a plumber to resolve the defective              the defective Private Lateral​, and that the owner
            Private Lateral.                                shall be reimbursed for the cost of correcting
                                                            the defective Private Lateral​.

43(k)(ii)   If the defective Private Lateral has not        If the defective Private Lateral has not been
            been addressed by the owner prior to            addressed by the owner prior to the BCE
            the BCE investigator's inspection, BCE          investigator's inspection, BCE shall inform the
            shall inform the owner to hire a plumber        owner to hire a plumber to correct the defective
            to correct the defective Private Lateral.       Private Lateral ​and that the owner shall be
                                                            reimbursed for the cost of correcting the
                                                            defective Private Lateral​.

 47, ​et    N/A                                             [Add to Section V]
  seq                                                       Green Infrastructure Plan​. Within twenty-four
                                                            (24) months after the Effective Date of the
                                                            Consent Decree, the City shall submit to the
                                                            Agencies for approval a Green Infrastructure
                                                            Program Plan (the “GI Plan”). The GI Plan shall
                                                            include the following elements:
                                                            (a) GI Locations. The GI Plan shall identify all
                                                            locations in the City’s system vulnerable to
                                                            wet-weather overflows and/or I/I and assess
                                                            whether GI may replace or complement planned
                                                            gray infrastructure improvements.
                                                            (b) GI Projects and/or Collaborations. By itself
                                                            or in collaboration with other stakeholders, the
                                                            City shall work to identify opportunities for the
                                                            development of GI projects and/or
                                                            collaborations for the areas identified in (a)
                                                            through the following actions described in the
                                                            GI Plan:
                                                                i. Establishing Partnerships and
                                                            Collaboration with Other Stakeholders. The City
                                                            shall identify and engage other stakeholders in
                                                            its service area to plan and implement GI
                                                            projects. These stakeholders may include
                                                            members of neighborhoods within 2 miles of a
                                                            GI Location; other members of the public;
                                                            municipal and governmental entities;
                                                            non-governmental organizations; business and
                                                            commercial entities; and other interested
                                                            parties. The City shall outline procedures to
                                                            work in collaboration with these partners to
                                                            identify, plan and implement GI projects.
                                                                ii. Public Participation. The City shall
                                                            establish and describe in the GI Plan, a public


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                                      participation process that provides information
                                      about the Plan and development of GI projects.
                                      The public participation process shall also
                                      provide opportunity for public comment
                                      regarding the selection, conceptual design, and
                                      location of GI projects. The public participation
                                      process shall be open to all who live in the
                                      City’s service area, and will include measures
                                      to engage people living in neighborhoods
                                      within a two-mile radius of GI Locations
                                      identified in (a).
                                         iii. Geographic Coverage/Decision Criteria.
                                      The City shall include prioritization criteria and
                                      processes for selecting locations and
                                      specifications for GI projects to be
                                      implemented as part of the program. The
                                      prioritization scheme for selected locations
                                      shall include areas where: (1) GI control
                                      measures will help reduce flooding, I/I, and
                                      backups; (2) land ownership will readily
                                      accommodate permanent GI control measures
                                      and their maintenance, such as areas where
                                      vacant parcels can be retrofitted into
                                      “stormwater parks,” which would store and
                                      infiltrate or reuse rainfall and runoff and also be
                                      an amenity for local residents; and (3) GI
                                      control measures can improve socio-economic
                                      conditions in the City’s service area, with the
                                      highest priority given to neighborhoods where
                                      the need for improvement is greatest.
                                          iv. Preservation of Constructed GI Projects.
                                      The City shall work with partners and
                                      stakeholders to plan legal and institutional
                                      mechanisms (1) to preserve and maintain
                                      constructed GI projects that are put in place
                                      under this section and (2) to ensure that future
                                      site or land use changes do not result in the
                                      loss of the runoff reduction benefits of
                                      constructed GI projects. The City shall share
                                      with partners and stakeholders the best
                                      management practices developed under the GI
                                      Plan.
                                      (d) Community Assistance. The City shall
                                      provide administrative and technical assistance
                                      to communities within its service area to
                                      facilitate implementation of GI practices to
                                      address I/I, such as identification of vacant
                                      parcels for potential GI projects and assistance
                                      with design and construction of stormwater
                                      infiltration, capture and/or reuse sites. The City
                                      shall identify the different forms of assistance


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                                                      that the City may make available to the
                                                      collaborating communities, including City staff
                                                      with expertise in GI planning, site design,
                                                      implementation, maintenance, and monitoring.
                                                      The City shall work on updates to local codes
                                                      and ordinances to remove barriers to GI
                                                      implementation. In carrying out the community
                                                      assistance efforts, the City shall dedicate at
                                                      least one City employee full time equivalent
                                                      position to provide technical assistance to
                                                      communities within the service area.
                                                      (e) Implementation Schedule. The GI Plan shall
                                                      include a process for setting Green
                                                      Infrastructure control measure priorities and
                                                      expeditious implementation schedules.

 54      Deliverables Subject to Review and           Deliverables Subject to Review and Approval. The
         Approval. The Capacity Remedial              Capacity Remedial Measures Plan(s), the TCEQ
         Measures Plan(s), the TCEQ Letter of         Letter of Authorization request, the WWF Pilot
         Authorization request, the WWF Pilot         Testing Result Report, the WWF Full Scale
         Testing Result Report, the WWF Full          Treatment Plans, the Scott Street WWF Remedial
         Scale Treatment Plans, the Scott Street      Measures Plan, the Northside WWF Remedial
         WWF Remedial Measures Plan, the              Measures Plan, ​and ​the CMOM Program Plan​, and
         Northside WWF Remedial Measures              the Green Infrastructure Plan​ shall be subject to
         Plan, and the CMOM Program Plan shall        the review and approval process described in
         be subject                                   Paragraph 57 below….
         to the review and approval process
         described in Paragraph 57 below….

 68      A list and map of new areas with             A list and map of new areas with capacity
         capacity constraints, remedial alternative   constraints, remedial alternative analysis for each
         analysis for each new area, remedial         new area, ​assessment of possible green
         action taken or to be taken along with a     infrastructure projects for each new area,
         timeline for completion of each remedial     remedial action taken or to be taken along with a
         action.                                      timeline for completion of each remedial action.

131(d)   The City may, subsequent to EPA's            The City may, subsequent to EPA's approval of a
         approval of a Remedial Measures Plan         Remedial Measures Plan under Section V
         under Section V (Compliance                  (Compliance Requirements), based on new or
         Requirements), based on new or               additional information ​or the existence of a green
         additional information, substitute a new     infrastructure alternative or complement​,
         Work Project or redefined Work Project       substitute a new Work Project or redefined Work
         under an EPA-approved Remedial               Project under an EPA-approved Remedial
         Measures Plan, provided that any such        Measures Plan, provided that any such new or
         new or redefined Work Project offers         redefined Work Project offers substantially the
         substantially the same or better CWA         same or better CWA Compliance Benefits.
         Compliance Benefits.




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     9. The consent decree seems to presume, rather than attempt to end, the continued inflow and
        infiltration of wastewater infrastructure

     The consent decree requires planning to prevent sewer asset surcharge during a five-year, six-hour
     rain event.85 This standard seems to allow Houston’s wastewater collection and treatment systems to
     continue to face infiltration and inflow from rain events that exceed this standard. To address wet
     weather-related SSOs, the consent decree should be modified to focus on eliminating infiltration and
     inflow at the source.

     In responding to this comment, Bayou City Waterkeeper asks the Agencies to explain why this
     standard was chosen and how many rain events over the last five years exceeded this standard. If this
     standard will continue to allow infiltration and inflow, the Agencies must explain how the consent
     decree nonetheless will reduce overflows caused by continued infiltration and inflow over the life of the
     consent decree.

     10. Additional wet weather recommendations

     We also recommend the consent decree include additional provisions to address infiltration and inflow.
     Specifically, the consent decree must require the City to:

     ●   Evaluate infiltration and inflow with flow and rainfall monitoring,86
     ●   Implement sewer rehabilitation and replacement specifically to reduce infiltration and inflow,87
     ●   Develop emergency response plan to address SSOs during storms;
     ●   Evaluate how to support green infrastructure and wet weather improvements through a
         Supplemental Environmental Project. ​See S   ​ ection VI-4 below.

                                   VI.    Equity & Environmental Justice

     Across Houston, lower-income communities of color are the “most likely to feel the consequences of
     Houston’s long-running struggle with sewer overflows.”88 The consent decree must account for, and
     not compound, these historic inequities. The consent decree’s failures to address these inequities and
     environmental justice are glaring oversights that must be corrected.

     The Agencies, and the EPA in particular, have a duty to ensure that the City is complying with Title VI
     of the Civil Rights Act of 1964. Before approving the consent decree, the EPA must require the City to
     implement the consent decree in a way that results in equitable resource allocation to neighborhoods
     of color.

     1. Understanding and addressing issues of equity and environmental justice must be a
        priority

     Before finalizing the consent decree, the Agencies and City must understand how Houston’s
     wastewater problems disproportionately impact low-income communities and communities of color and

85
   ​See, e.g.,​ Draft Consent Decree ¶¶ 12-14
86
   Atlanta’s First Amended Consent Decree, at p.38, available at
https://www.epa.gov/sites/production/files/documents/atlanta1999-cd.pdf
87
    ​Id.
88
   Mike Morris, Sewer spills put city under EPA scrutiny, Houston Chronicle (Aug. 27, 2016), available at
https://www.houstonchronicle.com/news/houston-texas/houston/article/Sewer-spills-put-city-under-EPA-scrutiny-918868
3.php.

                                                                                                                 31
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     integrate your findings into the consent decree’s planning and prioritization framework. To that end, the
     Agencies and City must include impacts on environmental justice communities as an explicit factor in
     the consent decree’s prioritization framework in Appendix D. To the extent any Early Action Projects
     should be reprioritized or added to address these issues, this should be done before the consent
     decree is final.

     If this assessment already has been undertaken, we ask the Agencies to explain this assessment,
     formalize it through planning and reporting provisions in the consent decree, and urge the City to share
     its findings with the public.

     Further, as discussed in Section IX-5, the consent decree should require the City to continue to study
     and report on equity and environmental justice aspects of its wastewater problems over the life of the
     consent decree, including impacts on environmental justice communities; assess whether the current
     projects under the consent decree address historic inequities and/or environmental justice concerns;
     and propose projects or other plans to account for these inequities and concerns.

     2. The consent decree must include Early Action Projects to address SSOs related to Sims
        Bayou and Northwest WWTPs

     The consent decree does not identify any Early Action Projects associated with Sims Bayou WWTP or
     Northwest WWTP. Bayou City Waterkeeper’s analysis of the City’s self-reported SSOs found 1,601
     potential violations associated with Sims Bayou WWTP from July 2013 to June 2018—second to one
     other WWTP. Over this same time period, the City reported 427 potential violations associated with its
     Northwest WWTP, also making it one of the City’s WWTPs with the most potential violations.

     Meanwhile, facilities with far fewer potential violations, including Kingwood Central (26 potential
     violations), Greenridge (86 potential violations), and Westway (13 potential violations), are slated for
     early action projects.

     The Sims Bayou and Northwest WWTFs are located in areas where residents have relatively low
     median family income compared to other areas in Houston. This raises a potential environmental
     justice issue. The Agencies must assess and address this issue and include in the consent decree
     early action projects related to these two facilities.

     Alternatively, in responding to these comments, the Agencies must explain how these issues are
     already addressed under the consent decree.

     3. The consent decree must require the City to study and report on rate increases and identify
        mechanisms for reducing rates over the long-term

     The consent decree commits the City to spend $2 billion over 15 years. This financial commitment will
     produce rate increases, the amounts of which are currently unknown. St. Louis’ consent decree,
     involving $4.7 billion over 23 years, will cost each resident about $3,600 over that time period.89 The
     City of Atlanta raised its rates by 252% over 10 years.90



89
   Erick Trickey, How a Sewer Will Save St. Louis, Politico Magazine (Apr. 20, 2017),
https://www.politico.com/magazine/story/2017/04/20/st-louis-infrastructure-sewer-tunnel-water-system-215056
90
   Second Amendment to the City of Atlanta’s First Amended Consent Decree, at 3,
https://elr.info/sites/default/files/doj-consent-decrees/cityofatlanta2ndamendto1stamendedcd2012final.pdf

                                                                                                                 32
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     The Mayor of Houston has said that a rate study will take place in early 2020, well after this comment
     period closes, and presumably after the consent decree is final. Until that study is complete, residents
     will not know how the City’s commitment of ratepayers’ funds will affect their monthly budgets. It is
     unclear what methodology the City will use and what factors it will consider.

     According to initial analysis of Houston Public Works and Census Bureau data by the Houston
     Chronicle, “[t]he average city sewer bill already exceeds what the Environmental Protection Agency
     considers affordable for more than 113,500 Houston families... That could rise to more than a quarter
     of all Houston households if sewer costs increase by 19 percent.”91 The Houston Chronicle
     summarized shortcomings in current EPA guidelines regarding rates, which aim to keep annual sewer
     charges below 2 percent of the citywide median household income: An EPA-sponsored study
     discredited these guidelines because they obscure burdens on poor families.

     Nothing in the consent decree obligates the City to undertake this study or consider criteria that reflect
     the special circumstances of Houston residents.

     We therefore ask for the consent decree to be modified to require the City to undertake a rate study no
     later than 60 days from the consent decree’s effective date and account for shortcomings in the EPA’s
     guidelines by considering all water costs, rather than sewer costs in a vacuum, and focusing its criteria
     on low-income users most vulnerable to rate increases, rather than Median Household Income.92 The
     study also should evaluate mechanisms for reducing sewer rates (both across the board and for
     certain income thresholds), including progressive sewer rates, the implementation of energy-saving
     technology (like cogeneration technology), and applying for grants to offset costs associated with
     resilience-related measures and wet-weather improvements.

     Once this report is complete, the City must publish it on the website with the consent decree and
     include summaries in Spanish, Vietnamese, and Mandarin, distilling its conclusions and identifying all
     currently known resources for reducing individual sewer rates.

     The consent decree must require the City to report on sewer rates annually, including any increases in
     rates, reasons for increases, and efforts to reduce rates.93 This reporting must be incorporated in
     annual reporting, including the “State of the Water” report and forum described above.




91
   Mike Morris, Is your Houston water bill too high? A $2B EPA sewer mandate won’t help, Houston Chronicle (July 23,
2019),
https://www.houstonchronicle.com/news/houston-texas/houston/article/Is-your-Houston-water-bill-too-high-A-2B-EPA-14
117979.php
92
   A Report by a Panel of the National Academy of Public Administration, Developing a New Framework for Community
Affordability of Clean Water Services, availble at
https://www.napawash.org/uploads/Academy_Studies/NAPA_EPA_FINAL_REPORT_110117.pdf
93
   For an example, see Louisville MSD’s Annual Report for 2017, at 12, which updates readers on sewer rates in
connection with consent decree. Louisville Municipal Sewer District, Annual Report for FY2017, available at
http://louisvillemsd.org/sites/default/files/inline-files/MSD%20CAFR%202017web.pdf.

                                                                                                                  33
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      We recommend the following additions to address these concerns:

                 Proposed language

        p.       [Add to list of “Whereas” clauses]
        1-3      WHEREAS, infrastructure improvements and upgrades as required by law and this
                 Consent Decree are designed to eliminate or reduce overflows from the Sewer System in
                 order to improve water quality and protect human health and the environment. These
                 improvements and upgrades will require significant capital expenditures. While the City
                 relies primarily on user fees, it plans to pursue a combination of additional available
                 funding sources, including, but not limited to, State assistance, federal assistance,
                 bonding, and any other public and private financing to assist in implementation of such
                 improvements. The Parties have agreed to a program that [the City] will implement to
                 eliminate or reduce its overflow sources, on a schedule that recognizes the financial
                 capabilities of its ratepayers as well as the engineering demands required for this
                 substantial capital investment.94

        § IX,    [Add to reporting requirements]
        p. 48    Water and Wastewater Rates
                    1. Within 60 days of the Effective Date, the City must publish the results of a rate study
                        (“Rates Report”) following the recommendations of ​A Report by a Panel of the National
                        Academy of Public Administration, Developing a New Framework for Community
                        Affordability of Clean Water Services​.
                    2. At a minimum, the Rates Report should:
                            a. Include all water costs, not just selected clean water costs, to include all
                                drinking water and clean water costs–SSO control costs, stormwater costs,
                                other sewer costs–as well as planned water infrastructure investments and any
                                deferred costs of system operations and maintenance, in the burden
                                assessment;
                            b. Focus on the income of low-income users most vulnerable to rate increases
                                rather than Median Household Income;
                            c. Identify the size of the vulnerable users relative to the utility’s total rate payer
                                base;
                            d. Avoid arbitrary normative thresholds to determine relative burdens;
                            e. Identify all existing programs for reducing individual sewer rates;
                            f. Identify mechanisms for reducing sewer rates, including, but not limited to,
                                State assistance, federal assistance, bonding, and any other public and private
                                financing to assist in implementation of such improvements.
                    3. The Rates Report must be translated into Spanish, Vietnamese, and Mandarin and
                        published on the City’s website.
                    4. On an annual basis, the City must update this study and also report on any increases
                        in rates, the reasons for increases, and efforts to reduce rates (“Rates Report
                        Update”).
                    5. The Rates Report and Rates Report Update must be incorporated in annual reporting
                        to the public.
                    6. The City must share an overview of, and information about how to access, the Rates
                        Report and Rates Report Update quarterly in water bills, by whatever means the user
                        has elected to receive that water bill.

94
     This language comes from ​St. Louis’s 2013 consent decree​.

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     4. The consent decree must require Supplemental Environmental Projects (SEPs) or increase
        the penalty the City must pay

     In Bayou City Waterkeeper’s lawsuit, we identified more than 9,300 overflows and discharges which
     we contend violate the Clean Water Act. The Agencies’ enforcement action purports to be broader in
     scope. Looking at Bayou City Waterkeeper’s lawsuit alone, we could expect the City to be liable for
     hundreds of millions of dollars in penalties. The consent decree requires the City to pay the federal
     and state governments only $4.4 million in penalties within 60 days after the consent decree is entered
     by the Court.95 In responding to these comments, the Agencies should explain why the City has
     received a significant discount to the hundreds of millions of dollars in penalties that we would expect
     given the high number of violations.

     Both federal and state policies provide mechanisms for municipalities to mitigate their penalty amounts
     by investing in Supplemental Environmental Projects.96 In the case of municipalities facing penalties
     under the Clean Water Act, "a municipality continues to be eligible to mitigate up to 40% of the penalty
     for a SEP..."97 Further, “[w]here a SEP provides significant benefits to a community with environmental
     justice concerns, case teams should be willing to consider, in consultation with OECA’s National SEP
     Policy Coordinators, giving higher penalty mitigation credit for projects of outstanding quality."98

     In the enforcement context, EPA has identified as a goal: “Increase the number of supplemental
     environmental projects and mitigation projects affecting overburdened communities.”99 Despite this
     goal, and despite the City’s public representation that the consent decree would include a
     “supplemental environmental project to replace defective private sewer lines in a low-income area of
     the City where laterals have caused or contributed to SSOs at no cost to the homeowners,”100 the
     consent decree does not include any SEPs or similar requirements.

     SEPs are routine in consent decrees like this one. Several other consent decrees offer examples of
     SEPs that would be appropriate in Houston and benefit local residents and water quality:




95
   Draft Consent Decree, ¶ 47.
96
   EPA, Issuance of the 2015 Update to the 1998 U.S. Environmental Protection Agency Supplemental Environmental
Projects Policy (Mar. 10, 2015), available at
https://www.epa.gov/sites/production/files/2015-04/documents/sepupdatedpolicy15.pdf; Texas Water Code § 7.067;
Texas Commission on Environmental Quality, SEPs: Putting Fines to Work Closer to Home (Oct. 2015),
https://www.tceq.texas.gov/assets/public/comm_exec/pubs/gi/gi-352.pdf
97
   EPA, Issuance of the 2015 Update to the 1998 U.S. Environmental Protection Agency Supplemental Environmental
Projects Policy, at 23 (Mar. 10, 2015),
https://www.epa.gov/sites/production/files/2015-04/documents/sepupdatedpolicy15.pdf
98
        ​ t 24.
   ​Id. a
99
   EJ 2020 Action Agenda: The US EPA’s Environmental Justice Strategic Plan for 2016-2020, at 3, 21,
https://www.epa.gov/sites/production/files/2016-05/documents/052216_ej_2020_strategic_plan_final_0.pdf
100
     How is the City Addressing Thousands of Sewage Overflows? Houston Public Media (Aug. 16, 2018) (quoting from
City of Houston press statement), available at
https://www.houstonpublicmedia.org/articles/shows/houston-matters/2018/08/16/300159/how-is-the-city-addressing-thou
sands-of-sewage-overflows/ (last visited Sep. 18, 2019).

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      ●   Lexington​: $1 million to stabilize stream banks, restore habitat, and create a greenway101 and $1.3
          million to eliminate an especially problematic wastewater treatment plant from its system102
      ●   DC:​ $1.7 million to install rain gardens and other green infrastructure103
      ●   Chattanooga​: $800,000 to restore and stabilize a stream and its tributary and $238,000
          investment in green infrastructure demonstration projects in a downtown neighborhood104
      ●   Atlanta:​ $25 million to acquire and maintain city greenways and conduct a one-time trash and
          debris cleanup project from the banks of streams in the city105

      Other examples include Baltimore106 (SEP to supplement >$13 million in biological nutrient removal
      upgrades to WWTP), Evansville107 ($4-6.5 million to connect failing septic systems to sewer system),
      St. Louis108 and Kansas City, Mo.109 (each investing $1.6 million to implement a sewer connection and
      septic tank closure program), Jackson110 ($875,000 to eliminate illicit stormwater connections and
      repair private lateral sewer lines from low-income residences), Independence111 ($450,000 to stabilize
      soil and banks and use native grasses and flowers at three water detention basins), Lima112 ($218,400
      to revitalize river bank), and Fitchburg113 ($100,000 to minimize future discharges).

      The penalty that the City must pay the United States and the State of Texas represents millions of
      dollars that the City will not be able to reinvest in local communities most affected by the City’s SSO
      problem. The Agencies should explain whether any state or federal SEPs were considered and if so,
      why they were rejected. Houston residents have the right to know why penalties associated with the
      consent decree will not be reinvested in their own communities.

      The Agencies should reconsider any decisions to reject a SEP. The Agencies must also require the
      City to seek community input on potential SEPs using some part of the $4.4 million in federal and state
      penalties ordered under the consent decree. These SEPs must either be incorporated into the consent
      decree, or the consent decree must be amended within a set time period after appropriate SEPs are
      identified.




101
    Appendix J-1 to Lexington-Fayette Consent Decree, available at
https://drive.google.com/file/d/0BxW9pi_VxmgpVk8tN0JSckFBbEk/view?pref=2&pli=1
102
    Appendix K-1 to Lexington-Fayette Consent Decree, available at
https://drive.google.com/file/d/0BxW9pi_VxmgpN3BjdjRyRFRuZTA/view?pref=2&pli=1
103
    Megan Ulrich, Cleaning Up the Capital’s Rivers: Solving the Problem of Combined Sewer Overflows in Washington,
D.C., The Journal of Science Policy & Governance, Vol. 4, Issue 1, at 15, available at
http://www.sciencepolicyjournal.org/uploads/5/4/3/4/5434385/sewer_overflows_in_dc.pdf
104
    DOJ, Press Release, U.S. and Tennessee Announce Clean Water Act Agreement with the City of Chattanooga (July
17, 2012), https://www.justice.gov/opa/pr/us-and-tennessee-announce-clean-water-act-agreement-city-chattanooga (last
visited Sep. 18, 2019).
105
    epa.gov/sites/production/files/2013-10/documents/atlanta1998-cd.pdf
106
    http://www.baltimorecity.gov/sites/default/files/Consent%20Decree.pdf
107
    https://www.epa.gov/compliance/resources/cases/civil/cwa/cityofevansville.html
108
    https://www.epa.gov/enforcement/st-louis-clean-water-act-settlement
109
    https://www.epa.gov/sites/production/files/documents/cityofkansascity-cd.pdf
110
    https://www.justice.gov/opa/pr/us-and-mississippi-announce-clean-water-act-agreement-city-jackson
111
    https://www.epa.gov/enforcement/independence-missouri-clean-water-act-settlement
112
    http://www.cityhall.lima.oh.us/DocumentCenter/View/1691/LimaDecreeFinal011315?bidId=
113
    https://www.epa.gov/enforcement/city-fitchburg

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      Potential SEPs that the Agencies and City must consider include:

      ●   replacing defective private sewer lines in low-income areas of the City where laterals have caused
          or contributed to SSOs,114
      ●   annual reporting on sewer rates and communication about meetings via mailers (Section VI-3),
      ●   green infrastructure to complement efforts to reduce weather-related overflows (Section V),
      ●   funding the upkeep of a Community Wastewater Committee (Section VIII-5),
      ●   robust public information-sharing (discussed in Sections VI-3, VIII-5,6,7,8,9 and IX).

                                                  VII.    Resilience

      This year, the City has invested significant time and resources in developing a Resilience Plan and a
      Climate Action Plan. The goal of this planning is to “prepare for, withstand, and bounce back from the
      ‘shocks’–catastrophic events like hurricanes, floods...–and ‘stresses’–slow-moving disasters like aging
      infrastructure... and economic inequality, which are increasingly part of 21st century life.”115

      This planning implicates Houston’s wastewater infrastructure, which presents a critical public and
      environmental health issue that we cannot delay for another generation. Houston, like cities across the
      U.S., has an expansive but aging wastewater system that was built to meet the needs of a much
      smaller population. Population growth and climate change, through increasingly severe weather (like
      Harvey, Imelda, and the Tax Day and Memorial Day floods, to name a few) and sea-level rise, will
      strain our aging sewer systems, and must be addressed through the consent decree.

      With the implementation of the City’s two plans aimed at addressing resiliency, Houston can better
      complement its environmental adaptation with mitigation and investments that​ create a more livable
      future for all Houstonians. Given the serious investments in planning and implementation already
      underway, the City should view the consent decree as an opportunity to commit to projects that can
      future-proof our wastewater system.

      1. Climate change poses real threats to wastewater infrastructure

      The National Climate Assessment Report has warned:

             Wastewater management and drainage systems are also at risk. Systems will become
             overwhelmed with increased rainfall intensity over more impervious surfaces, such as asphalt
             and concrete. Sea level rise will cause a variety of problems including salt water intrusion into
             coastal aquifers. Together, climate change impacts increase the risks of urban flooding,
             combined sewer overflows, deteriorating coastal water quality, and human health impacts.116

      Harvey showed the impacts a single storm may have on the City’s wastewater infrastructure: Nearly
      31.6 million gallons of raw sewage spilled across southeast Texas in the wake of Harvey and further


114
    How is the City Addressing Thousands of Sewage Overflows? Houston Public Media (Aug. 16, 2018) (quoting from
City of Houston press statement), available at
https://www.houstonpublicmedia.org/articles/shows/houston-matters/2018/08/16/300159/how-is-the-city-addressing-thou
sands-of-sewage-overflows/ (last visited Sep. 18, 2019).
115
    Chief Resilience Officer, Office of the Mayor, https://www.houstontx.gov/mayor/chief-resilience-officer.html (last visited
Oct. 2, 2019).
116
    U.S. Global Change Research Program, National Climate Assessment: Highlights, available at
https://nca2014.globalchange.gov/highlights/regions/coasts

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      contaminated already-toxic floodwaters.117 The City’s Cedar Bayou WWTP was destroyed, and its
      Turkey Creek and West District WWTPs were flooded and temporarily closed.118

      In the last month, Tropical Storm Imelda showed that Houston will continue to suffer from large-scale
      water pollution each time it faces a storm. Imelda required the City to notify the public of two separate
      spills of untreated wastewater: 275,100 gallons of wastewater near the University of
      Houston-Downtown, and at least 100,000 gallons of wastewater at Parker Road off Eastex Freeway.119
      These harms are not limited to storms like Harvey and Imelda. Excluding Harvey, from 2013-2018,
      Houston’s wastewater systems became overburdened repeatedly during rainstorms and released
      more than 15 million gallons of untreated wastewater into local waterways and neighborhoods.120

      The City’s own self-reported data of SSOs attributed to wet weather, when compared to corresponding
      rainfall data, shows that even a half-inch to an inch of rain is enough to overwhelm its collection
      systems. Between January 1, 2016 and December 31, 2017, Houston Intercontinental Airport weather
      station reported 68 days with rain amounts equal to or greater than a half inch.121 If the City
      wastewater collection, transmission, storage, and treatment system is vulnerable to rain amounts this
      low, based on weather data for 2016 and 2017, wastewater permit violations could be expected to
      occur, on average, every 11 days.

      To anticipate and limit these impacts moving forward, the City must consider best available data
      regarding climate change and population growth and integrate climate risk into all wastewater
      infrastructure and repairs.

      2. The consent decree must account for how sea-level rise, increased flooding, and more
         intense rains will affect its wastewater infrastructure

      Coastal flooding is expected to increase due to an accelerating rise in sea level and make flooding on
      the scale of Harvey and Imelda more common. As the Center for American Progress explained in its
      report on climate change’s impacts on wastewater infrastructure, prepared after Hurricane Sandy:122

             The hazards of higher sea levels affect wastewater systems in several specific ways. First,
             sea-level rise increases the risk of flooding for wastewater facilities. As baseline sea levels rise,
             they reduce the level of intensity necessary for storm surges to destroy coastal infrastructure….



117
    Alex Stuckey, Harvey caused sewage spills, Houston Chronicle, (Sep. 19, 2017), available at
https://www.houstonchronicle.com/news/houston-texas/houston/article/Harvey-caused-sewage-spills-12213534.php
118
    ​Id.
119
    City of Houston, Press Release (Sep. 19, 2019), available at
https://mailchi.mp/houstontx/spillnotice_eastexparker?e=1a59e9e012 (explaining “Intense, sustained, rainfall of greater
than 9 inches in the last 24-hours resulted in the spill of [more than 100,000 gallons of] domestic wastewater at 10200
Eastex Freeway at Parker Road”) (last visited Oct. 3, 2019); City of Houston, Press Release (Sep. 20, 2019), available at
https://mailchi.mp/houstontx/spillnotice_eastexparker?e=1a59e9e012 (- Intense, sustained, rainfall from Tropical Storm
Imelda resulted in the spill of [an estimated 275,100 gallons of] domestic wastewater at 100 North Milam Street at 700
Washington Avenue”) (last visited Oct. 3, 2019).
120
    Analysis by Bayou City Waterkeeper of the City’s self-reported disclosures of overflows to the TCEQ.
121
          ​ ata collected at Houston’s Intercontinental airport by the National Oceanic & Atmospheric Administration here:
     ​See d
https://www.ncdc.noaa.gov/cdo-web/datasets/GHCND/stations/GHCND:USW00012960/detail
122
    Ben Bovarnick, et al, Rising Waters, Rising Threat: How Climate Change Endangers America’s Neglected
Wastewater Infrastructure, Center for American Progress (“Rising Waters”) (Oct. 2014), available at
https://cdn.americanprogress.org/wp-content/uploads/2014/10/wastewater-report.pdf

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             Rising sea levels also harm wastewater systems underground by raising coastal groundwater
             levels and increasing the infiltration of seawater. These impacts can reduce the overall capacity
             of wastewater systems, resulting in more frequent sewage overflows. They can also introduce
             seawater into treatment systems, impairing facilities’ mechanical and biological integrity,
             increasing maintenance costs, and reducing system effectiveness.123

      Further, the report explained “climate change is projected to increase the strength of coastal storms,
      and such events can cause physical damage to wastewater treatment facilities across wide regions.”
      These projections already have manifested in Houston: As we saw after Harvey, heavy rains disabled
      two of the City’s WWTPs and destroyed a third.124

      The report further cautioned that “Inland wastewater facilities,” including those in the City, “are also at
      risk from global warming. Increasing frequency of heavy rainfall, induced by climate change, has the
      potential to overwhelm wastewater systems, resulting in unintentional SSOs.”125 This prediction also
      has come to pass in Houston: Imelda brought two massive spills of untreated wastewater,126 and the
      City’s own self-reported data of SSOs attributed to wet weather, when compared to corresponding
      rainfall data, shows that even a half-inch to an inch of rain is enough to overwhelm its collection
      systems.

      Indeed, with regard to Harvey, a group of climate scientists from Rice, Princeton, and European
      universities concluded “global warming made the precipitation about 15% (8%–19%) more intense, or
      equivalently made such an event three (1.5–5) times more likely,”127 and an international consortium of
      climate scientists already has concluded that “the extreme rainfall and flooding caused by Tropical
      Storm Imelda was made more likely and intense due to global warming.”128 These are not risks the City
      can ignore when spending $2 billion to repair its wastewater infrastructure.

      The consent decree must integrate these risks into all wastewater infrastructure planning. The consent
      barely considers these issues, mentioning them only briefly in a few parts of the consent decree:

      ●   In paragraph 10, the consent decree notes that the “sound engineering practices” the City may use
          to repair its systems “may include appropriate provisions of EPA’s Climate Ready Water Utilities
          (CRWU) Initiative… and EPA’s Climate Resilience Evaluation and Awareness Tool…”.

123
    ​Id. (​ citing Jefferson F. Flood and Lawrence B. Cahoon, “Risks to Coastal Wastewater Collection Systems from
Sea-Level Rise and Climate Change,” Journal of Coastal Research 27(4) (2011): 652–660, available at
http://www.jcronline.org/doi/pdf/10.2112/JCOASTRES-D-10-00129.1).
124
    Alex Stuckey, Harvey caused sewage spills, Houston Chronicle, (Sep. 19, 2017), available at
https://www.houstonchronicle.com/news/houston-texas/houston/article/Harvey-caused-sewage-spills-12213534.php
125
    Rising Waters, at 4 (citing U.S. Global Change Research Program, National Climate Assessment: Extreme Weather,
available at http://nca2014.globalchange.gov/highlights/report-findings/extreme-weather#narrative-page-20985)
126
    City of Houston, Press Release (Sep. 19, 2019), available at
https://mailchi.mp/houstontx/spillnotice_eastexparker?e=1a59e9e012 (explaining “Intense, sustained, rainfall of greater
than 9 inches in the last 24-hours resulted in the spill of [more than 100,000 gallons of] domestic wastewater at 10200
Eastex Freeway at Parker Road”) (last visited Oct. 3, 2019); City of Houston, Press Release (Sep. 20, 2019), available at
https://mailchi.mp/houstontx/spillnotice_eastexparker?e=1a59e9e012 (- Intense, sustained, rainfall from Tropical Storm
Imelda resulted in the spill of [an estimated 275,100 gallons of] domestic wastewater at 100 North Milam Street at 700
Washington Avenue”) (last visited Oct. 3, 2019).
127
    Geert Jan van Oldenborgh, et al, Attribution of extreme rainfall from Hurricane Harvey, August 2017, 2017 Environ.
Res. Lett.12 124009 (Jan. 9, 2018), available at https://iopscience.iop.org/article/10.1088/1748-9326/aa9ef2/pdf
128
    World Weather Attribution, Rapid attribution of the extreme rainfall in Texas from Tropical Storm Imelda,
https://www.worldweatherattribution.org/rapid-attribution-of-the-extreme-rainfall-in-texas-from-tropical-storm-imelda/ (last
visited Oct. 2, 2019).

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      ●   In paragraph 43(b), the consent decree requires the City to implement and Advanced Infrastructure
          Analytics Platform, which will “include statistical analytical results from the wastewater
          infrastructure models with SCADA, level monitoring, flow monitoring, and rainfall data.”
      ●   Appendix D explains the consent decree’s prioritization framework for sequencing repairs to lift
          stations and includes location in a floodway as a factor, without defining what metric for
          determining that floodway will be used.

      While the consent decree references the EPA’s CRWU and CREAT tools, the consent decree merely
      says that work to accomplish remedial measures under the consent decree must be performed using
      “sound engineering practices” and includes within that definition “appropriate provisions” under the two
      resources just mentioned.

      This is too vague to ensure the City actually will integrate these practices into its own infrastructure
      planning. The consent decree must be clearer and specifically require the City to integrate climate risk
      into every aspect of its wastewater planning and direct the city to prioritize specific strategies outlined
      under CRWU and CREAT, including but not limited to:

      ●   Improving community engagement,
      ●   Modeling of all kinds - modeling of extreme precipitation events, runoff, changes in water quality,
          and energy demand, and sewer flow to reduce inflow/infiltration,
      ●   Integrating flood management and modeling into land use planning,
      ●   Relocating facilities out of the floodplain,
      ●   Using green infrastructure (repeatedly recommended by CRWU as an appropriate strategy for
          making wastewater infrastructure more xf),
      ●   Using other nature-based solutions,
      ●   Integrating long-term risks into capital improvement plans, and
      ●   Implementing cogeneration technology.

      Further, the consent decree must be modified to require the City to use the best available data
      regarding projected rainfall, flooding, and sea-level rise. In Annual Reports, the City must explain what
      data it used and identify any changes that must take place in its long-term planning to account for
      changes in flooding, sea-level rise, and rainfall projects.

      3. The consent decree must account for wastewater infrastructure’s impacts on public health
         over the long-term

      The damaging impacts of climate change—including sea-level rise, extreme weather, and increased
      rainfall, as well as drought—on wastewater treatment systems present a major public health risk.
      When excessive rainfall and flooding overwhelm sewer systems, it can force untreated sewage and
      wastewater to flow out of sanitary sewer systems into local communities, damaging property and
      threatening public health by leaking into homes and contaminating groundwater.129 When the public is
      exposed to contaminants in untreated wastewater—such as viruses, bacteria, worms, and toxic
      chemicals—individuals can be subject to respiratory, skin, and intestinal infections; illnesses such as
      the stomach flu; and more serious diseases such as cholera and dysentery.130


129
   Rising Waters, at 8 (citing U.S. Environmental Protection Agency, Sanitary Sewer Overflows and Peak Flows)
130
   U.S. Environmental Protection Agency, Why Control Sanitary Sewer Overflows?, available at
https://www3.epa.gov/npdes/pubs/sso_casestudy_control.pdf

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      Harvey spilled nearly 31.6 million gallons of raw sewage across southeast Texas,131 and excluding
      Harvey, from 2013-2018, Houston’s wastewater systems became overburdened repeatedly during
      storms and released more than 15 million gallons of untreated wastewater into local waterways and
      neighborhoods.132 More recently, in less than a day during Imelda, more than 375,000 gallons of
      untreated wastewater escaped the City’s sewer system.133

      These spills pose an obvious risk to public health. Less than a month after Harvey, Rice University’s
      Kinder Institute for Urban Research reported that in some cases, E. coli levels in Houston’s bayous
      were more than 57 times above the acceptable limit.134 Another group of researchers at Rice
      University found that as a result of damage to the City’s wastewater systems from flooding, E. coli
      levels and antibiotic-resistance gene levels in two of Houston’s major bayous were significantly
      elevated in the immediate aftermath of Harvey.135 The report advised: “Flooding is expected to become
      more frequent due to a combination of global climate change and the expansion of coastal cities….
      there is an urgent need not only to investigate the overall impacts of Hurricane Harvey on public
      flooded areas in Houston but also to characterize the pathogenic microbial profile and antibiotic
      resistance in representative samples from flooded residential communities.”136

      The consent decree must require the City to address these risks, including by:

      ●   Creating a plan for moving wastewater treatment plants out of the floodplain,
      ●   Prioritizing repairs to wastewater infrastructure that cannot be moved out of the floodplain,
      ●   Requiring additional monitoring of wastewater infrastructure during and after periods of heavy rain,
      ●   Requiring additional monitoring of sites following periods of heavy rain,
      ●   Notifying the public of the risks of coming into contact with contaminated water before anticipated
          periods of heavy rain and after periods of heavy rain.

      4. The consent decree must account for increased peak flow from population growth

      The consent decree should require the City to achieve adequate collection system capacity and peak
      flow management that account for climate and population projections. The consent decree should be
      revised to account for likely changes to the collection system capacity due to increases in population
      using the system and increased precipitation caused by climate change.




131
    Alex Stuckey, Harvey caused sewage spills, Houston Chronicle, (Sep. 19, 2017), available at
https://www.houstonchronicle.com/news/houston-texas/houston/article/Harvey-caused-sewage-spills-12213534.php
132
    Analysis by Bayou City Waterkeeper of the City’s self-reported disclosures of overflows to the TCEQ.
133
    City of Houston, Press Release (Sep. 19, 2019), available at
https://mailchi.mp/houstontx/spillnotice_eastexparker?e=1a59e9e012 (explaining “Intense, sustained, rainfall of greater
than 9 inches in the last 24-hours resulted in the spill of [more than 100,000 gallons of] domestic wastewater at 10200
Eastex Freeway at Parker Road”) (last visited Oct. 3, 2019); City of Houston, Press Release (Sep. 20, 2019), available at
https://mailchi.mp/houstontx/spillnotice_eastexparker?e=1a59e9e012 (- Intense, sustained, rainfall from Tropical Storm
Imelda resulted in the spill of [an estimated 275,100 gallons of] domestic wastewater at 100 North Milam Street at 700
Washington Avenue”) (last visited Oct. 3, 2019).
134
    Kinder Institute for Urban Research, Rice University, E. coli Levels Up (Way Up) After Harvey (Sep. 21, 2017),
https://kinder.rice.edu/2017/09/21/e-coli-levels-up
135
    Pingfeng Yu, et al, Elevated Levels of Pathogenic Indicator Bacteria and Antibiotic Resistance Genes after Hurricane
Harvey’s Flooding in Houston, Environmental Science & Technology Letters 2018 5 (8), 481-486 (July 23, 2018),
available at https://cpb-us-e1.wpmucdn.com/blogs.rice.edu/dist/3/1390/files/2012/02/266-2jxakx9.pdf
136
    ​Id.

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      Currently, the consent decree does not require the City to evaluate peak flow and instead seems to
      default to the peak flow conditions of its TPDES permits.137 The consent decree must require the City
      to evaluate peak flow conditions and attain sufficient hydraulic capacity and peak flow management as
      identified by the required evaluation.

      The consent decree should also be revised to require hydraulic capacity and management of peak
      flows for a period of time that corresponds to the anticipated lifetime of required new, rehabilitated, and
      upgraded sewer infrastructure.138 In doing so, the required evaluation should account for increases in
      the quantity and intensity of precipitation associated with climate change and the increase in regional
      population of potential sewer users.

      The consent decree should require the City to factor in both observed increases in extreme
      precipitation events since 1910 and projected increases in precipitation amounts and intensity as a
      result of climate change in its evaluation to determine sufficient hydraulic capacity and management of
      peak flows for future, projected conditions beyond the life of the consent decree.139 Unless accounted
      for in advance, increased quantity and intensity of precipitation will increase the frequency and
      magnitude of wet-weather SSOs and more rapidly degrade the collection system.

      Precipitation conditions will change significantly beyond the life of the consent decree and over the
      anticipated lifespan of wastewater infrastructure. Climate scientists have concluded precipitation
      during storms like Harvey and Imelda has become more intense due to global warming.140 It is
      projected that extreme rain events like these will become the norm in Houston over the next century.141
      To make sure the City spends $2 billion in a way that accounts for these expected changes, the
      consent decree must require that the rehabilitation and upgrading of the collection system’s hydraulic
      capacity is both sustainable and cost-effective over the projected lifetime of the sewer infrastructure.

      The consent decree must also require the City to factor in future, projected population conditions
      beyond 2030 in its evaluation to determine sufficient hydraulic capacity and management of peak
      flows. As of 2018, the U.S. Census estimated Houston’s population at more than 2.3 million,142 and
      according to the 2010 US Census, the broader Houston region had 5.8 million residents. By 2040 the


137
    ​See generally D​ raft Consent Decree.
138
    Sanitary sewer infrastructure, with preventative maintenance, can last for decades before requiring
replacement. See, e.g., U.S. Department of Housing and Urban Development, Residential Rehabilitation
Inspection Guide, Appendix C page C-3 (cast-iron sewer pipes have an expected lifetime of 75 to 100
years), available at https://www.huduser.gov/portal//Publications/PDF/rehabinspect.pdf.
139
     ​See​ David Easterling et al., Climate Extremes: Observations, Modeling, and Impacts, Science 22 Sep 2000:
Vol. 289, Issue 5487, pp. 2068-2074, available at
http://science.sciencemag.org/content/289/5487/2068.full; Intergovernmental Panel on Climate Change,IPCC Fourth
Assessment Report: Climate Change 2007: Working Group I: The Physical Science Basis - 11.5.3.2
Precipitation, available at https://www.ipcc.ch/publications_and_data/ar4/wg1/en/ch11s11-5-3-2.html.
140
    Geert Jan van Oldenborgh, et al, Attribution of extreme rainfall from Hurricane Harvey, August 2017, 2017 Environ.
Res. Lett.12 124009 (Jan. 9, 2018), available at https://iopscience.iop.org/article/10.1088/1748-9326/aa9ef2/pdf; World
Weather Attribution, Rapid attribution of the extreme rainfall in Texas from Tropical Storm Imelda,
https://www.worldweatherattribution.org/rapid-attribution-of-the-extreme-rainfall-in-texas-from-tropical-storm-imelda/ (last
visited Oct. 2, 2019).
141
    A Climate for Resilience: Houston, We’ve Had a Problem, U.S. Climate Resilience Toolkit,
https://toolkit.climate.gov/case-studies/climate-resilience (“Continued extreme precipitation events, as well as increased
risk of drought due to higher temperatures, are also projected.”) (last visited Oct. 2, 2019).
142
    U.S. Census Bureau, QuickFacts: Houston, Texas,
https://www.census.gov/quickfacts/fact/table/houstoncitytexas/PST045218 (last visited Oct. 2, 2019).

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      region is expected to have 10 million residents, a portion of which will be served by the City’s
      wastewater collection and treatment systems.

      Currently, the only mention of population in the draft consent decree is this statement in a “Whereas”
      clause: “The City contends that it has been working to implement improvements to its massive system
      to try to keep pace with its rapidly growing population…” This falls short.

      Increases in population will put a strain on the hydraulic capacity and effective management of peak
      flows unless the population increases are properly accounted for in the engineering to rehabilitate and
      upgrade the collection system’s hydraulic capacity. If demand by future sewer users exceeds hydraulic
      capacity of a rehabilitated and upgraded collection system, then SSOs will continue to pollute
      Houston’s waterways. The consent decree must require that the rehabilitation and upgrading of the
      collection system’s hydraulic capacity is both sustainable and cost-effective over the projected lifetime
      of the sewer infrastructure.

                                       VIII.   Community Engagement

      1. The 40 years, the EPA has recognized the importance of the public’s input to wastewater
         management decisions

      As early as 1979, EPA recognized that “community involvement in planning for sewage treatment
      facilities would result in cleaner water at lower ultimate cost.”143 The EPA advised:

         Only careful public scrutiny can ensure:
            ● that sewage treatment planning meets the present and future needs of the community;
            ● that all the relevant environmental, economic, and political data necessary to ensure
                effective implementation emerge;
            ● that appropriate measures are taken to mitigate negative impacts; and
            ● that a community develops a commitment to continued oversight of the operation and
                maintenance of the facility.

      More recently, in EPA’s Office of Wastewater Management’s 2017 report, “Prioritizing Wastewater and
      Stormwater Projects Using Stakeholder Input,” the EPA emphasized the value of community input in
      prioritizing wastewater projects: “It is critical to engage representative stakeholders.”144 To that end,
      “EPA encourages communities to give stakeholders appropriate opportunities for meaningful input
      during the identification, evaluation and selection of alternatives.”

      And the 2017 EPA-funded “Effective Utility Management: A Primer for Water and Wastewater Utilities”
      identifies “stakeholder understanding and support” as one of “ten attributes of effectively managed
      wastewater utilities.”145 In engaging stakeholders, the report explains that an effectively managed utility
      “[e]ngenders understanding and support from stakeholders (anyone who can affect or be affected by
      the utility), including customers... [and] community and watershed interests…” and “[a]ctively engages
      in partnerships” and “involves stakeholders in the decisions that will affect them.”


143
    EPA, Municipal Wastewater Management, Public Involvement Activities Guide, at v, EPA-430/9-79-005 (Feb. 1979).
144
    EPA, Office of Wastewater Management, Prioritizing Wastewater and Stormwater Projects Using Stakeholder Input,
at 2, 5, EPA 830-R-17-002 (Aug. 2017).
145
    Effective Utility Management: A Primer for Water and Wastewater Utilities, at 5 (Jan. 2017), available at
https://nepis.epa.gov/Exe/ZyPDF.cgi/P100WIZA.PDF?Dockey=P100WIZA.PDF

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      In the enforcement context, EPA has identified as a goal: “Strengthen communication so enforcement
      cases can benefit from the knowledge of local communities, and empower communities with
      information about pollution and violations that affect them.”146

      2. Houston has received low marks for engaging its residents

      Houston consistently falls short when it comes to engaging its residents. In 2018, the Kinder Institute
      for Urban Research at Rice University assessed Houston’s civic health and concluded Houston “tends
      to lag behind other large metro areas in terms of civic health.”147 By all measures, including civic
      involvement, the report stated, Houston “ranks on average 36th out of the 50 largest metropolitan
      areas in the country.” With respect to “traditionally marginalized populations, including non-white
      residents, less educated residents, and the foreign-born,” the report concluded:

             social connectedness, civic involvement, and political participation all tend to be lower…
             compared to more advantaged groups such as those who are Anglo (non-Hispanic white),
             better educated residents, and native-born citizens… Houston continues to grapple with its
             history of racial segregation and discrimination, the growing concentrations of poverty, and the
             challenge to ensure that all residents can meaningfully participate in civic life.148

      The report cautioned “Solving large-scale community problems often requires political action. Equal
      political participation is important in securing civic health. Without it, community problems risk being
      solved in an inequitable way.”149

      This concern has borne out in the context of the City’s wastewater infrastructure. In 2016, the Houston
      Chronicle’s analysis found “The neighborhoods most likely to feel the consequences of Houston’s
      long-running struggle with sewer overflows are disproportionately home to low-income and minority
      residents….”150

      3. The City has not minimally engaged residents in drafting the consent decree

      The City made no effort to engage with communities in drafting the consent decree and repeatedly
      opposed the involvement of Bayou City Waterkeeper in the negotiation of the consent decree’s basic
      terms. When the City announced the consent decree was final, the Mayor planned to put the consent
      decree on the agenda for a vote without releasing a copy to the public. Houston Public Media reported
      that City Council Members were subject to a punitive “secrecy clause” that prevented them from sharing
      any information about the consent decree with the public.151


146
    EJ 2020 Action Agenda: The US EPA’s Environmental Justice Strategic Plan for 2016-2020, at 3,
https://www.epa.gov/sites/production/files/2016-05/documents/052216_ej_2020_strategic_plan_final_0.pdf
147
    2018 Houston Civic Health Index at 5, Kinder Institute for Urban Research, Rice University, available at
https://kinder.rice.edu/sites/g/files/bxs1676/f/documents/2018%20Houston%20Civic%20Health%20Index.pdf. The report
defines “civic health” as “the way that communities are organized to define and address public problems. Communities
with strong indicators of civic health have higher employment rates, stronger schools, better physical health, and more
responsive governments.”
148
    ​Id.
149
          ​ t 18.
     ​Id. a
150
    Mike Morris, Sewer spills put city under EPA scrutiny, Houston Chronicle (Aug. 27, 2016),
https://www.houstonchronicle.com/news/houston-texas/houston/article/Sewer-spills-put-city-under-EPA-scrutiny-918868
3.php.
151
    Jen Rice, ‘Secrecy Provision’ Prevented Public Input On Houston’s $2 Billion Deal To Fix Sewers, Houston Public
Media (July 16, 2019),

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   Only after more than 50 groups and individuals voiced their concerns that the City Council was moving
   forward with approving the settlement without releasing the draft to the public or offering any opportunities
   for public comment, the Mayor released a copy to the public but delayed the Council’s vote by only a
   week. Despite the short turnaround, Bayou City Waterkeeper, with the support of other organizations,
   presented Council with a plan for community engagement, but the Council approved the consent decree
   without any changes.

   In our most recent communication from the City regarding public engagement so far, City Attorney Ron
   Lewis claimed the City adequately consulted with the public and cited to July Council meetings described
   in the paragraphs above and actions taking place after the City Council’s approval of the consent decree,
   including the federal comment period and the City’s presentations to the Water Environmental Association
   of Texas (with a minimum ticket price of $75) and the Black Chamber of Commerce (an event which was
   not advertised on the Chamber’s website or facebook page).

   4. Despite the value of community engagement to wastewater decisions and the City’s public
      engagement shortfalls, the consent decree is silent with regard to community engagement

   Despite this well-known shortfall, a single sentence in the consent decree contemplates public
   participation, through this comment period: “This Consent Decree shall be lodged with the Court for a
   period of not less than 30 Days for public notice and comment in accordance with 28 C.F.R. § 50.7
   and TWC § 7.110.”152 The consent decree imposes no independent requirements on the City for
   community engagement, and the City engaged in no community outreach before voting to approve the
   consent decree on July 24, 2019.

   In comparison, other local government resolving wastewater issues through consent decrees
   contemplated comparably more robust community engagement both before and after the consent
   decree was final. A good example is Allegheny County Sewer Authority, which has a modified consent
   decree currently open for comment. That consent decree requires the creation of a public participation
   plan—meeting certain requirements that are spelled out in the consent decree—within six months.
   Other examples include the ​Metropolitan St. Louis Sewer District​, the ​DC Suburbs’ Sewage District​,
   the ​Metropolitan Water Reclamation District of Greater Chicago​, and ​Delaware County​, as well as the
   Cities of ​Cincinnati​, ​Baltimore​, ​Atlanta​, ​Chattanooga​, ​Louisville​, and ​Nashville​.

   At a minimum, the City must be required to create a plan for participation moving forward. For
   proposed language, see paragraph 6 below.

   5. The consent decree must require community engagement moving forward by creating and
      empowering a Community Wastewater Committee

   To require community engagement over the 15-year life of the consent decree, we recommend that
   the consent decree provide for the creation and support of a ​Community Wastewater Committee
   (CWC)​,​ made up of residents affected by sewer overflows and back-ups, civic and non-profit
   organizations, academics (including engineers with wastewater management and stormwater control
   experience), and members of city government. To enhance the City’s efforts to comply with the Clean
   Water Act, we recommend that the CWC may give input about how to address community concerns


https://www.houstonpublicmedia.org/articles/news/2019/07/16/339729/secrecy-provision-blocks-public-input-on-houstons
-2-billion-deal-to-fix-sewers/
152
    Consent Decree, ¶ 138.

                                                                                                                 45
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      going beyond the consent decree’s terms, such as suggestions for reducing and offsetting water rates,
      using green infrastructure, strategically investing in next-generation wastewater improvements to
      reduce energy consumption, contributions to climate change, and costs; and funding.153 To facilitate
      communication with and information-sharing by the City, we recommend that the CWC meet quarterly
      and liaison with community groups and the Public Works Department about the City’s ongoing
      compliance with the consent decree and Clean Water Act. The Public Works Department, in turn, will
      update the CWC on the city’s compliance with the consent decree.

      Other cities with similar community-based wastewater advisory committees include the Washington
      D.C. Suburbs Sewer District’s ​stakeholder advisory panel​ (p.315 of PDF), Los Angeles’ ​Stakeholder
      Advisory Group​ on water issues, Portland, Oregon’s ​Citizens Advisory Committee​, and the community
      steering committee contemplated by Cincinnati’s ​consent decree​ (p. 119 of PDF).

      For proposed language, see paragraph 6 immediately below.

      6. The Annual Reports required under the consent decree must be shared with the public
         through a summary “State of the Water” report and public forum

      The consent decree requires Annual Reports to be submitted to the EPA for review and comment, with
      a copy being provided to the TCEQ, before being shared with the public.154

      The consent decree must be modified to make sure this information is shared with the public in an
      annual “State of the Water” report and public forum, which should, at a minimum, cover upgrades to
      wastewater infrastructure and updates on local water quality.155 To ensure that the public has notice of
      these meetings and can participate in them in a meaningful way, the City should be required to provide
      30-day public notice of the date, time, and location prior to each annual forum through specified means
      that include press releases and emails to interested individuals, community groups, and environmental
      organizations, among other stakeholders.

      In addition, at least 30 days before each annual public forum, the City should be required to post
      online all reporting already required under sections V and IX of the consent decree and additional
      reporting recommended in this comment letter. The public notice for the forums should provide
      information on the availability of these reports and where exactly they may be accessed online. Finally,
      the City should be required to receive questions in advance of the public forum and include a
      question-and-answer period of up to two hours during each forum.

      To make the report and forum accessible to Houstonians who do not speak English, the City should
      translate the report into Spanish, Vietnamese, and Mandarin and provide interpretation services at the
      annual forum in those same languages. Bayou City Initiative, a local non-profit organization, recently
      hosted a sold-out “State of the Infrastructure” forum in which some of these issues were addressed by
      Carol Haddock, the City’s Director of Public Works. This not only shows that the public has an interest

153
    For example, the Washington D.C. Suburbs Sewer District’s ​first amended consent decree​ describes the efforts
already undertaken by a stakeholder advisory panel on p. 315 of the PDF; Cincinnati’s ​consent decree​ contemplates the
creation of a community steering committee on p. 119 of PDF.
154
    Draft Consent Decree ¶ 62.
155
    As an example, Baltimore’s consent decree (p. 59 of PDF, ¶ 28(a), available
athttps://publicworks.baltimorecity.gov/sites/default/files/Modified%20Consent%20Decree.pdf ) requires it to hold annual
forums to “inform the public of work achieved under the Consent Decree in the prior 12-month period… to facilitate
community engagement.”

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      in receiving this sort of information, but gives the City with a model for how to structure this forum. A
      video of this forum is available here:
      https://www.facebook.com/bayoucityinitiative/videos/643262332828550/.

      The annual reports prepared by Louisville to comply with its consent decree obligations offer one
      model that the City could follow.156 To address the recommendations in paragraphs 4-6 above, Bayou
      City Waterkeeper recommends the following language be added to the “Public Participation” section of
      the consent decree:

       §        Proposed language

       XXIII    139. Public Participation Plan. Within three months from the Effective Date, the City shall
                develop a “Public Participation Plan” to ensure that the public served by the WCTS is
                actively involved in the development of Deliverables under the consent decree and
                promote community engagement over the duration of the consent decree.

                140. Content of Public Participation Plan. The City shall include in its Public Participation
                Plan (a) proposed activities for providing the public with notice and information regarding
                the development of projects and plans under the consent decree and its Deliverables,
                including any goals, the types of remedial controls and remedial activities available and
                being considered, the process for evaluating the various remedial controls and remedial
                activities under the consent decree, and informal opportunities to ask questions about and
                comment on the various remedial controls and remedial activities under the consent
                decree; (b) the creation, structure, and operations of a Community Wastewater Committee,
                described below; and (c) a plan for consistent, periodic public outreach, including an initial
                workshop and annual State of the Wastewater meeting and report.

                141. Community Wastewater Committee. The purpose of the Community Wastewater
                Committee will be to maximize opportunities for community engagement, to provide
                guidance to the City throughout the consent decree process, and to improve the City’s
                long-term ability to comply with the Clean Water Act and Texas Water Code.

                   a. Members.
                        i. The Community Wastewater Committee will be composed of:
                               1. At least one resident of, or representative of civic organizations
                                  active in, the areas identified in Appendix C or identified by the City,
                                  BCWK, and/or the Community Wastewater Committee;
                               2. The plaintiff-intervenor BCWK;
                               3. At least two and up to five representatives of local non-profit
                                  organizations whose missions focus on environmental, equity,
                                  resilience, and/or civic engagement in the greater Houston area;
                               4. Professors or postdoctoral fellows with a background in wastewater
                                  infrastructure, civil or environmental engineering, or urban planning
                                  or similar area of expertise affiliated with a college or university in
                                  the greater Houston area;


156
   Louisville Municipal Sewer District, Annual Report for FY2017, available at
http://louisvillemsd.org/sites/default/files/inline-files/MSD%20CAFR%202017web.pdf.

                                                                                                                  47
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                     5. The City’s Director of Public Works or their representative;
                     6. A representative of the Houston Health Department;
                     7. The Chair of the City Council’s Technology, Transportation, and
                         Infrastructure Committee or their representative.
            ii.  Upon convening, this Committee may establish rules of governance,
                 including rules that allow for representatives of additional organizations,
                 neighborhoods, or stakeholders. Although they will not be members of the
                 Community Wastewater Committee, the TCEQ and EPA will be invited to
                 attend all Community Wastewater Committee meetings.
    b.   Operations. The Community Wastewater Committee will give the City and its
         departments advice through an informal process. The Committee's focus will be on
         "big picture" issues relating to the City’s compliance with the consent decree.
         Though the Committee will not provide detailed advice regarding the technical
         minutiae of consent decree compliance, they may identify opportunities and funding
         sources for technological and infrastructure upgrades. The City and its consultants
         will answer any questions the Committee has about the technical details of
         Deliverables and work under the consent decree.
    c.   At a minimum, the Community Wastewater Committee will provide high-level
         guidance to the City and the Public Works Department in complying with the terms
         of the consent decree, including all planning and reporting required under the
         consent decree, and the Clean Water Act. The Committee also will give Public
         Works recommendations for how to address community concerns, including
         recommendations for offsetting rate increases, additional wastewater
         improvements needed to reduce system failures, opportunities for the development
         of green infrastructure projects; and potential funding sources for additional
         wastewater improvements and green infrastructure projects.
    d.   At the outset of the process, the City will convene the Community Wastewater
         Committee within six months of the Effective Date. At its initial session, the City will
         present to the Committee a "road map" of the consent decree process. At a
         minimum, this initial session will cover: 1) the history of the City’s efforts to address
         its overflow problems; 2) the regulatory context in which the consent decree has
         arisen; 3) the possible causes and contributing factors that could be leading to the
         continued overflow problems; 4) a detailed explanation of the planned Early Action
         Projects; and 5) a brief explanation of other planned projects and deliverables
         under the consent decree. In the latter portion of this session, the City will take
         questions and comments from the Community Wastewater Committee members
         regarding its plan for compliance with the consent decree.
    e.   The Public Works Department will update the Committee on the city’s compliance
         with the consent decree on at least a quarterly basis.
    f.   The Houston Health Department will update the Committee on water quality on at
         least a quarterly basis.

 142. Initial Public Outreach.

    a. The first step in the public outreach process will be an effort to educate the public
       generally about the consent decree, sewer overflows and back-ups, the role of the


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         Community Wastewater Committee, and the range of alternatives available for
         addressing sewer overflows and back-ups.
    b.   Within six months of the Effective Date, the City will distribute press releases to
         print, electronic, and broadcast outlets to introduce the consent decree and
         Community Wastewater Committee and invite citizens to contact the City by letter,
         phone, or email to request an information packet on the consent decree. The City
         will make the information packet available on its website, together with documents
         in the repository described in ¶ 59. In these communications and on its website, the
         City will announce the date and time for an initial consent decree public workshop.
    c.   In an effort to reach customers without internet access, the City also will share this
         information through quarterly mailers in customer utility bills.
    d.   The information packet described in (b) will be developed with input from BCWK
         and/or the Community Wastewater Committee and contain a short overview of the
         final consent decree as it relates to sewer overflows and back-ups; contain an
         anonymous questionnaire that will solicit citizens' views regarding sewer overflow
         and back-up issues; and invite recipients to visit the City’s consent decree website
         and/or to attend the initial public workshop described below. The information packet
         will be distributed to community leaders, including representatives from the Super
         Neighborhood Alliance, watershed associations (e.g., Brays Bayou Association),
         organizations who have previously participated and/or have submitted letters
         related to the consent decree, and other organizations and non-profit
         organizations, identified by the City, BCWK, and/or Community Wastewater
         Committee, who would benefit from participating in this process. Copies of the
         information packet will be made available at Multi Service Centers and local
         libraries, as well as at Public Works information booths at various public events,
         such as Earth Day.
    e.   The location and time of the initial public workshop will be chosen to facilitate
         attendance by the public, particularly those in the communities surrounding the
         areas identified in Appendix C. The initial public workshop may take place as part
         of another meeting that will attract members of the public, such as a CIP meeting.
    f.   This initial workshop will seek to educate members of the public about the issues
         outlined above: 1) the history of the City’s efforts to reduce sanitary sewer
         overflows; 2) the regulatory context in which the consent decree has arisen; 3) the
         possible causes and contributing factors that could be leading to the continued
         overflow problems; 4) Early Action Projects; 5) other planned projects and
         deliverables under the consent decree; 6) opportunities for learning more about the
         City’s progress in reducing SSOs and complying with the consent decree; 7)
         information about offsetting rate increases; 8) the role of various City departments
         in addressing sewer overflows and back-ups, including the Public Works
         Department and Houston Health Department; 9) the role of the Community
         Wastewater Committee.
    g.   Technical issues and remedial alternatives will be presented in a simple, concise
         manner that is understandable to laypersons. The presentations will address
         progress to date on the consent decree, as well as the status of ongoing and
         planned consent decree activities. Charts and maps explaining in layperson's terms



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                the causes and effects of sewer overflows and back-ups across the City, as well as
                the City’s efforts to address them, will be on display for viewing by the public at the
                workshop site before, during, and after the workshop session. Interpretation will be
                available for Spanish, Vietnamese, and Mandarin speakers.

         143. State of the Water Address & Report. After holding the initial public workshop, each
         year thereafter, the Public Works Department and the Houston Health Department will
         co-host a meeting to update the public on the State of Water Infrastructure & Water Quality
         and the city’s progress in complying with the consent decree. Notice of the meeting will be
         published in the same manner described in ¶ 142(a) and (b) above. The address and
         report will include easy-to-understand metrics about the city’s progress in completing
         projects under the consent decree and reducing sanitary sewer overflows, as well as
         information about where the city has fallen short. The meeting will be broadcast through a
         recorded, live webinar, so community members unable to attend in person can access the
         information conveniently. The Mayor will be required to attend.



7. The consent decree should include reporting on additional topics

Bayou City Waterkeeper has several additional recommendations for how the consent decree may
improve the dissemination of information to and involvement by the public:

First​, Houston residents have expressed frustration with the lack of information about how the consent
decree may affect their sewer rates. Over the last 30 years, the City has spent more than $3 billion on
sewage upgrade projects without achieving compliance with the Clean Water Act or adequately
reporting to the public how much work it has completed and what was spent on the endeavor. To
address these concerns, the City should be required to post online an annual financial report with an
accounting of the funds it has raised for consent decree work and a detailed list of the City’s financial
expenditures on that work over the previous 12 months. The reports should identify the specific
companies that received money as contractors and the amount, date, and purpose of each payment.
The City must also report on financial expenditures for consent decree projects to date and to file
annual financial expenditures reports going forward.

Second​, the City should be required to give the public a progress report on annual infrastructure
projects. The City should be required to post online annual summary reports describing and
summarizing, in clear, non-technical language that members of the public can easily understand, the
infrastructure projects that the City has completed over the previous year pursuant to the consent
decree. These reports should include, at a minimum:

●   the number of miles of pipes rehabilitated, upgraded, or replaced, both in the previous year and
    cumulatively since the entry of the consent decree;
●   the number of miles of pipes that still remain to be rehabilitated, upgraded or replaced before the
    deadlines listed in the consent decree;
●   maps showing the location of pipes replaced and other work performed, and the location of pipes
    not yet rehabilitated, upgraded or replaced; and
●   maps showing the location of both wet- and dry-weather SSOs, SSO structures, and sewer
    backups, which indicate the status of the City’s effort to eliminate or prevent their occurrence.


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      Third,​ the City should be required to provide annual reports to the public on its efforts to comply with
      recommended measures to address sewer backups. The City should be required to post online an
      annual report of measures undertaken and progress made to comply with its SSO Response Plan.
      This report should include the number, location, and date of each complaint about a sewer backup,
      and data for the City’s response, including cleanup efforts and response times, pursuant to the
      Response Plan.

      Fourth​, at a minimum, as discussed above, the City must understand how its wastewater problems
      disproportionately impact low-income communities and communities of color and integrate its findings
      into its planning and prioritization framework. The City should be required to assess and report on
      environmental justice aspects of its wastewater problems, including historic inequities and/or impacts
      on environmental justice communities; assess whether the current projects under the consent decree
      address historic inequities and/or environmental justice concerns; propose projects or other plans to
      account for historic inequities and/or environmental justice concerns. ​See ​Section VI above.

      8. The public should have a chance to review and comment on plans required by the consent
         decree

      The consent decree currently requires the following reports to be submitted to the EPA for “review and
      approval” and allow the EPA to provide written comments: The Capacity Remedial Measures Plan(s),
      the TCEQ Letter of Authorization request, the WWF Pilot Testing Result Report, the WWF Full Scale
      Treatment Plans, the Scott Street WWF Remedial Measures Plan, the Northside WWF Remedial
      Measures Plan, and the CMOM Program Plan. Despite purportedly being necessary for the City to
      achieve compliance with the Clean Water Act, these reports are not subject to any forum of public
      comment or approval by the Court.

      These reports should be subject to public review and comment over a 60-day comment period to give
      communities affected by these plans, as well as environmental and other community-based
      organizations like Bayou City Waterkeeper, the opportunity to weigh in. As noted elsewhere in this
      comment letter, public health concerns about the City’s failure to address this problem previously and
      ongoing equity concerns weigh in favor of allowing more robust opportunities for public participation in
      the development of plans that are essential to the implementation of the consent decree.

      Other federal consent decrees to resolve sewer overflows require some form of public review or
      comment. These other federal consent decrees either (1) include required plans for management
      programs and other remedial measures as appendices to or provisions within the consent decree,
      which subject these plans to public review and comment before entry with the court for approval,157 or
      (2) require a period of public review and comment before the plan is submitted by the defendant for
      review and approval by the plaintiff parties, if the federal consent decree included provisions for the
      development of a plan for a program or measure, or if there was no program prior to the consent




157
   ​See, e.g.,​ Consent Decree, ​United States, et al v. Bd. of Cty. Comm’rs & City of Cincinnati
(No. C-1-02-107, S.D. Ohio, June 9, 2004), available at https://www.epa.gov/sites/production/files/2014-
09/documents/hamilton-cd2.pdf; Appendix D, Consent Decree, ​United States & South Carolina v. City of
Columbia​ (No. 3:13-2429-TLW, D.S.C., Sept. 9, 2013) available at
https://www.epa.gov/sites/production/files/2013-09/documents/columbia-cd_0.pdf

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      decree.158 The long time period that the City has been out of compliance, and the very high number of
      reported overflows, warrants this level of public scrutiny.

      9. The public should receive notice of SSOs, which also must be mapped

      To enhance existing notification requirements under Texas Administrative Code § 319.302, the
      consent decree should require the City to disclose all sanitary sewer overflows and other unpermitted
      discharges on a real-time basis on its website. These should be posted on an interactive map159 and
      accompanied by public health advisories when needed. The City’s website must allow users to
      subscribe to these overflow alerts.160

      The Public Works Department must also issue press releases and post updates to its social media
      accounts when these overflows/discharges occur and provide notice to the media any time (1) the
      discharges exceed or or are likely to exceed 10,000 gallons total, including any intentional releases,161
      or (2) the discharges have caused or are likely to cause an adverse impact on water quality.

      The consent decree should also require the City to install temporary warning signs along waterways
      and parks used by the public when levels of fecal bacteria exceed amounts considered safe by EPA or
      the TCEQ for limited contact water recreation.

      To illustrate why this is important, the City has identified several locations facing capacity constraints in
      Appendix C and collectively reported millions of gallons of wastewater spilled at the locations during
      storms over the last five years. These locations are near parks and waterways used by the public for
      recreation and in some cases, by elementary schools, like Appendix C “Area 2,” which is on the
      boundary of Woodland Park, a popular park in central Houston in which people and their dogs
      regularly walk through the site of these overflows, and “Area 6,” which is next to J.P. Henderson
      Elementary School. It is of vital importance to public health to notify the public at the physical location
      of overflows. This also presents an environmental justice issue; J.P. Henderson’s students are mostly
      Hispanic children from economically disadvantaged backgrounds.162

      The posting of these signs should follow these minimum requirements:

             ●   Posted within 24 hours of the City’s receipt of notice of a sewage discharge that is likely to
                 threaten human health if people come in contact with the water;
             ●   Located near the contaminated waterway in a place where it is easily visible; and


158
    ​See, e.g.,​ Appendix 4, Consent Decree, United States v. City of Akron & Ohio (No. 5:09-cv-00272, N.D. Ohio,
Nov. 13, 2009) available at https://www.epa.gov/sites/production/files/documents/cityofakron-cd.pdf;
Consent Decree at 65, Section VI., United States & South Carolina v. City of Columbia (No. 3:13-2429-TLW,
D.S.C., Sept. 9, 2013) available at https://www.epa.gov/sites/production/files/2013-
09/documents/columbia-cd_0.pdf; Consent Decree at 7-8, Section VI.9., United States & Mississippi v. City
of Greenville (No. 4:16-cv-00018-DMB-JMV, N.D. Miss., Jan. 28, 2016) available at
https://www.epa.gov/sites/production/files/2016-02/documents/greenvillepartial-cd.pdf.
159
    California EPA, State Water Resources Control Board, Sanitary Sewer Overflow (SSO) Incident Map
https://www.waterboards.ca.gov/water_issues/programs/sso/sso_map/sso_pub.shtml (last visited Oct. 2, 2019).
160
    For one example, see the Overflow Advisory Level on the website associated with Louisville’s consent decree and
wastewater improvements at http://msdprojectwin.org/.
161
    According to the City’s self-reported data, 132 discharges topped 10,000 gallons in 2017; 285 in 2016 (not including
most of January and February due to incomplete data); 115 in 2015; 50 in 2014; 16 in 2013; and 13 in 2012.
162
          ​ enderson J. Elementary School, Student Statistics,
     ​See H
https://www.har.com/school/101912171/henderson-j-elementary-school (last visited Oct. 3, 2019).

                                                                                                                       52
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             ●   Clearly inform the public of the risk.163

      If financial constraints pose a barrier to enhanced public notification, we urge the Agencies, through a
      SEP or otherwise, to allow the City to use part of its penalty owed to the United States and State of
      Texas to fund these additional public notification measures.

      10. Additional improvements are needed to facilitate public engagement

      The consent decree requires the City to publish certain reports to its website:

             59. Public Document Repository. The City shall post to its website all final EPA-reviewed
             and/or EPA-approved plans, reports, or other submissions required by Section V (Compliance
             Requirements) and Section IX (Reporting Requirements). Each submission shall remain on the
             website or by link or other accepted method for at least three years.

      We recommend that the consent decree be modified to require these documents be posted to the
      website within 24 hours of being sent to the EPA and/or TCEQ and remain available for the life of
      consent decree.

      Further, in addition to mapping SSOs, as recommended above, we also recommend that the consent
      decree require the City to map its efforts to address these SSOs through planned, in-progress, and
      completed projects. The City may consider expanding or adapting the current map on the City’s
      website, https://www.buildhoustonforward.org/src/project.html, which currently documents ongoing,
      paving, and street construction projects and must be required to keep this map up-to-date.

      We also recommend that the City communicate with utility customers about the implementation of the
      consent decree as appropriate through mailers (and their email equivalent) in customer utility bills and
      provide information about meetings and reports relating to the City’s progress in implementing the
      consent decree.

                                  IX.    Data Reporting & Public Information

      1. The consent decree must require better reporting by the City

      The ability of federal agencies, state agencies, and the public to understand the frequency and
      magnitude, the public health and environment impacts, and remediation options from potential Clean
      Water Act and Texas Water Code violations by the City’s wastewater system depends on information
      gathered and made available by the City.

      In preparing its notice of intent to sue, Bayou City Waterkeeper reviewed the City’s data, which was
      self-reported to the TCEQ and stored in the TCEQ’s databases. Between November 30, 2015 and
      February 13, 2016, the TCEQ changed the format of the databases storing wastewater excursion data.
      These changes made the data more difficult (that is, time-consuming) to analyze.

      There are several fields in the older data that are not available in the data since February 13, 2016.
      These fields include: address, street, basin, manhole, structure type, location, flow location, system,
      potential impacts, excursion cause notes, corrective action, and corrective action notes. Some of the

163
   St. Louis’ consent decree includes similar requirements. See St. Louis Consent Decree at 16-17, Section V.A.9.d.i.,
available at
https://www.epa.gov/sites/production/files/2013-09/documents/stlouis-cd.pdf.

                                                                                                                         53
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      information that would be in these fields is contained within the newer database in a single field:
      INCID_COMMENT. This field contains 3,974 unique values. These values include addresses, problem
      descriptions, manhole identification information, and corrective action descriptions. Without significant
      data re-coding, it is impossible to extract from the more recent database the type of information that is
      readily available for excursions prior to November 30, 2015. Further, there are several fields in the
      more recent database in which no useful information is coded.

      For the City to learn anything from its own data, it must be organized in a manner that can be more
      easily analyzed. The consent decree should require the City and State of Texas to maintain this data
      in a consistent format and collect additional data to facilitate the City’s efforts to comply with the Clean
      Water Act.

      The consent decree should require the City and/or State of Texas to maintain the following information
      in easily accessible electronic databases, including GIS data:

      ●   The date, time, location, and size of any sewage overflow or discharge that is not in compliance
          with permit terms;
      ●   Weather conditions associated with the overflow or discharge, if relevant (including rain amounts,
          flood flow levels, and/or storm surge, for example);
      ●   The names of staff and/or contractors with information regarding the occurrence;
      ●   Associated facility element: sewer, force main, manhole, lift station, pump station, and/or treatment
          facility, their nominal capacity, actual conditions, and any deviation from ordinary operational
          conditions;
      ●   The location, flow condition, and extent of the affected waterbody;
      ●   An assessment of public health and environmental risk;
      ●   A notation of predetermined environmental justice criteria, if relevant;
      ●   The root cause and/or contributing causes of the overflow or discharge;
      ●   Whether that root cause and/or contributing cause requires further repair or attention, and the
          status of that work.

      2. The consent decree must provide for ongoing water quality monitoring

      The goals of the Clean Water Act to restore waterways to meet their ecological functions and support
      safe uses, including water-contact recreation, should be supported by the consent decree. To that end,
      the proposed consent decree should be revised to require ongoing monitoring and assessment to
      observe trends for ambient water-quality in Houston’s waterways for the life of the consent decree.
      The required monitoring should include regular wet- and dry-weather sampling for instream
      concentrations of fecal indicator bacteria, such as E. coli and Enterococcus, and for quantitative
      microbial source tracking for human markers of fecal contamination.164

      Houston’s waterways routinely exceed Texas’s bacteriological water quality standards for infrequent
      primary contact and EPA’s recommended bacteriological standards to limit waterborne illness during




164
   ​See,​ ​ e.g.,​ San Antonio Consent Decree at 45-48, Section V-I (2013),
https://www.epa.gov/sites/production/files/2013-07/documents/saws-cd.pdf (requiring a Water Quality Program Plan that
includes fecal bacteria sampling and quantitative source tracking of receiving waterways and stormwater outfalls, dry-
and wet-weather sampling, and water-quality assessment and reporting).

                                                                                                                     54
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      both wet- and dry-weather conditions. Severe rain events, including Harvey, have resulted in
      documented increases in E. coli and other bacteria and contamination.165

      3. Additional improvements are needed to protect the public.

      Additional provisions, currently missing from the consent decree, will further protect the public:

      ●   Requirement to develop and implement a written Collection System Contingency and Emergency
          Response Plan to protect public health and welfare in the event of any sewage overflow;
      ●   Requirements to expediently notify and protect affected public in the event of a sewage overflow;
      ●   Procedures to provide timely notice to appropriate Federal, State, and local agencies;
      ●   A program to ensure rapid dispatch of staff and equipment to correct or repair conditions causing or
          contributing to overflows;
      ●   Sewage overflow emergency response training for City wastewater staff and contractors;
      ●   Receiving water body monitoring, sampling, analysis and reporting following an unpermitted
          discharge.

      The City of Atlanta’s First Amended Consent Decree contains similar terms and can provide model
      language for the Agencies to use in Houston’s consent decree.166

                                        X.    Cross-Project Coordination

      Regionally, Harvey has led to an increased focus on how to prevent or mitigate the damage caused by
      flooding. Some planned flood mitigation projects may have direct impacts on the sewer system and SSOs
      in Houston. They may require the City or other entities to work around or potentially relocate existing
      sewer lines or could potentially affect inflow and infiltration into the sewer system during storm events.167
      Because of the direct relationship between flood mitigation projects and SSO prevention, the draft consent
      decree should require the City to coordinate project development with current and future flood mitigation
      projects, and should require or encourage coordination of funding with flood mitigation projects where
      possible.

      A major example of a flood infrastructure project with a direct sewer system impact is the North Canal
      Project. The North Canal Project seeks to cut a 1,300-foot canal immediately upstream of the confluence
      between White Oak and Buffalo Bayou, directly across from the University of Houston-Downtown.168 As a
      result of this project, more water would be able to flow more quickly and more directly through the tight
      bend in Buffalo Bayou, which would drop the projected flood level in downtown Houston by four feet, and
      lower the water level upstream along White Oak Bayou.169 There is, however, the possibility that a 12-foot


165
    Kinder Institute for Urban Research, Rice University, E. coli Levels Up (Way Up) After Harvey (Sep. 21, 2017),
https://kinder.rice.edu/2017/09/21/e-coli-levels-up; Pingfeng Yu, et al, Elevated Levels of Pathogenic Indicator Bacteria
and Antibiotic Resistance Genes after Hurricane Harvey’s Flooding in Houston, Environmental Science & Technology
Letters 2018 5 (8), 481-486 (July 23, 2018), available at
https://cpb-us-e1.wpmucdn.com/blogs.rice.edu/dist/3/1390/files/2012/02/266-2jxakx9.pdf
166
    Atlanta’s First Amended Consent Decree, at p.39-41, available at
https://www.epa.gov/sites/production/files/documents/atlanta1999-cd.pdf
167
    Regarding the latter projects, inflow and infiltration may increase or decrease depending upon the nature and
placement of the project.
168
    Zach Despart and Jasper Scherer, FEMA approves initial funding for long-sought North Canal flood project, Houston
Chronicle (Oct. 11, 2019), available at
https://www.houstonchronicle.com/news/houston-texas/houston/article/FEMA-approves-initial-funding-for-long-sought-14
5 15615.php.
169
    ​Id.

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      sewer pipe would need to be moved to complete the project.170 Should the sewer pipe need to be moved,
      the City must ensure that such a move would avoid adversely affecting its SSO projects under the consent
      decree and also determine, in advance, whether there are opportunities to use the move to further reduce
      SSOs and benefit its other projects, and share funding with the North Canal Project.

      Additionally, the City should coordinate the North Canal Project with the green infrastructure projects
      proposed in this comment letter at the University of Houston-Downtown. ​See S ​ ection V-7(a). The
      proposed green infrastructure projects all focus on retaining stormwater to regulate its flow during wet
      weather events, which can have the dual effect of reducing flooding and reducing I/I into the sewer
      system.171 The scope of each of those green infrastructure projects could be expanded geographically to
      better serve the goals of both the draft consent decree and the North Canal Project. For example, the
      proposed green roof incentive program and permeable pavement and bioswale programs could be
      expanded to include all of downtown Houston, while additional sites could be identified for stormwater
      wetlands and permeable pavement and bioswale projects upstream of the canal along both White Oak
      and Buffalo Bayou.

      Coordination, however, is not limited to the North Canal Project. After Harvey, Harris County created a list
      of 237 projects in and around Houston to improve resilience and mitigate flooding, which will be partially
      funded by a $2.5 billion flood bond.172 Each of these projects should be evaluated for coordination with this
      draft consent decree, both to avoid interference and to identify areas where projects can complement
      each other and share funding where appropriate.


                                                           ***

      Thank you for the opportunity to submit these comments. Bayou City Waterkeeper welcomes all
      opportunities to discuss these comments and find ways to implement our recommendations before the
      consent decree is final. Together, we can give Houstonians a consent decree that not only improves
      local water quality, but also engages communities, addresses historic inequities, invests in green
      infrastructure, reduces local contributions to climate change, and makes Houston more resilient for
      generations to come.

      Sincerely,




      Jordan Macha                                                    Kristen Schlemmer
      Executive Director                                              Legal Director
      Bayou City Waterkeeper                                          Bayou City Waterkeeper
      jordan@bayoucitywaterkeeper.org                                 kristen@bayoucitywaterkeeper.org


170
    Mike Morris, Houston’s sprawling drainage project would help hundreds or homes along White Oak Bayou, Houston
Chronicle (Mar. 19, 2018), available at
https://www.houstonchronicle.com/news/article/Houston-s-sprawling-drainage-project-would-help-12759536.php#photo-1
5245230.
171
    ​Id.
172
     Bond Program Project List, Harris County Flood Control District (Jan. 4, 2019), available at
https://www.hcfcd.org/2018-bond-program/bond-program-project-list/.

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